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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION


IN RE: STERICYCLE, INC., STERI-SAFE
CONTRACT LITIGATION                                   Case No. 13 C 5795
                                                      MDL No. 2455

                                                      Judge Milton I. Shadur

                                                      CLASS ACTION

                                                      JURY TRIAL DEMANDED


          DEFENDANT’S ANSWER AND AFFIRMATIVE DEFENSES TO
     SECOND AMENDED CONSOLIDATED COMPLAINT [REDACTED VERSION]

         Stericycle, Inc. (“Stericycle”), by and through its counsel, hereby answers Plaintiffs’

Second Amended Consolidated Complaint [Redacted Version] (“the Complaint”) as follows:

                                  I.     NATURE OF THE ACTION

         1.         Plaintiffs have brought this lawsuit to combat Stericycle’s widespread pattern of

fraudulent, misleading and wrongful conduct. That conduct and the legal claims arising from it are

detailed below. But all of Plaintiffs’ allegations and claims rest upon two fundamental rules. The

first rule: a deal is a deal. Stericycle entered into fixed-price contracts and it was obligated to honor

those prices. The second rule: tell the truth. Stericycle was obligated to give its customers accurate

and complete information about its service contracts and the prices it charged.

         RESPONSE: Stericycle admits that it entered into various contracts with its customers,

and that its obligations are set forth in those contracts. Stericycle denies the remaining allegations

of paragraph 1.

         2.         Plaintiffs have brought this action because Stericycle didn’t follow those

fundamental rules. To Stericycle, the deal was not the deal. Stericycle did not honor the fixed




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prices it promised to charge its customers. Instead, Stericycle systematically and regularly raised

its prices, without any justification and without even notifying them it was doing so. Nor did

Stericycle honor its obligation to tell the truth. Instead, Stericycle misled customers about its

pricing and practices and induced them to become or remain customers by falsely representing that

its rates were fixed, failing to disclose its practice of increasing prices, failing to even notify

customers that prices had changed, and then lying about the reasons for price increases when

challenged. Stericycle’s practices were not fair, they were not right, and as detailed below, they

were against the law.

         RESPONSE: Stericycle denies the allegations of paragraph 2.

         3.         Stericycle is a large, a [sic] publicly traded medical waste disposal company. It

provides medical waste collection and disposal services for medical clinics, veterinary clinics,

medical labs, municipal jails, and other businesses that generate regulated medical waste across

the country. Stericycle’s business generates substantial revenues - in 2012, it posted $1.9 billion

in revenue - and it has shown substantial revenue growth for many years running. But Stericycle

did not generate all of this revenue or revenue growth honestly. In fact, Stericycle generated this

extraordinary revenue and achieved its steady revenue growth by programming its internal billing

and accounting software to charge an 18% price increase in the flat rates it agreed to charge its

customers, which its billing software has imposed automatically every 6 to 12 months since at least

2003. This “automated price increase,” or “API,” to use Stericycle executives’ corporate-speak,

has never been disclosed to the customers who paid it, and it is not permitted by the customers’

contracts with Stericycle.

         RESPONSE: Stericycle admits the first three sentences of paragraph 3, but denies the

remaining allegations of paragraph 3.




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         4.         Stericycle used an internal electronic billing and accounting software system called

Tower, later replaced by a similar system known as “Steri-Works.” Stericycle executives directed

that the Tower/Steri-Works programming default to an 18% “automated price increase” for “small-

quantity,” non-institutional customers, which in 2012, made up 97% of Stericycle’s 541,000

customers worldwide. Stericycle imposed the API without notice or explanation every six to

twelve months. The frequency varied over time depending on Stericycle’s need to generate

revenue and meet Wall Street expectations, but the practice did not. Stericycle has consistently

employed API as a revenue generating tool since at least 2003. As a result, the supposedly “fixed

rates” these customers were supposed to pay frequently doubled or more during the typical three

to five year contract term.

         RESPONSE: Stericycle admits that it maintained certain electronic information relating

to customers on a system formerly known as Tower. Stericycle further admits that certain

customers, at times, received price increases, and that some of those price increases were 18%.

Stericycle denies the remaining allegations of paragraph 4.

         5.         Stericycle’s executives knew the automated price increases were wrong, because in

2006 they were urged by their own Vice President to reprogram the Tower system in order to cease

the practice with respect to federal governmental customers when several federal customers got

wind of it. But they continued the practice with regard to the vast majority of their SQ customers.

On information and belief, Stericycle continued its practice after it settled a qui tam case under the

False Claims Act with the New York State Attorney General in 2012. That case involved the same

API policies at issue here, but the settlement was for New York governmental customers only.

         RESPONSE: Stericycle denies the allegations of paragraph 5.




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          6.        Stericycle executives continued the practice after recognizing seven years ago that

it was wrong because of the tremendous revenue generated from automated price increases. As an

internal Stericycle e-mail states, “projected PI [Price Increase] revenue” was so big that it was

separately tracked in “PI Impact analysis reports ... sen[t] to Mark/Frank/Rich each month” -

referring to Stericycle’s three highest executives, CEO Mark Miller, CFO Frank Ten Brink, and

COO Rich Kogler. The revenue stream from automated price increases was so great that Stericycle

only modified its practice for government customers when forced to by a multi-state government

investigation. It continued its API practice for SQ customers, who did not have the power of state

and federal governments backing them up.

          RESPONSE: Stericycle admits that the phrases in quotation marks are found in Stericycle

documents, but denies that those phrases are accurately characterized in paragraph 6. Stericycle

denies the remaining allegations of paragraph 6.

          7.        Stericycle’s automated price increases were imposed automatically by the

company’s electronic billing software on the vast majority of Stericycle’s “small-quantity”

medical waste disposal customers. The legality of this common course of conduct will be

adjudicated based on a common nucleus of operative facts from information in Defendant’s

control. The only material difference among prospective class members’ claims is the specific

amount of their damages. The operative customer contracts, standard form agreements written by

Stericycle with no input from its customers, contained a choice-of-law clause applying a single

state’s laws to all disputes. Adjudicating individually each claim of the hundreds of thousands of

class members would overwhelm the court system. This case is well-suited for treatment as a class

action.




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         RESPONSE: Stericycle admits that certain of its contracts include a choice of law clause

applying the law of the State of Illinois. Stericycle denies the remaining allegations of paragraph

7.

         8.         On behalf of themselves and all others similarly situated, Plaintiffs seek relief from

Stericycle for injuries caused by this common practice, including: (a) an order certifying the action

to be maintained as a Class action and ordering Plaintiffs and lead counsel to represent the Class;

(b) restitution; (c) compensatory damages; (d) punitive, statutory, and/or treble damages; (e)

attorneys’ fees; (f) costs of this suit; (g) pre- and post-judgment interest; and (h) such other and

further relief as this Court may deem necessary or proper.

         RESPONSE: Stericycle denies the allegations of paragraph 8.

                                 II.     JURISDICTION AND VENUE

         9.         This Court has subject matter jurisdiction over this class action pursuant to 28

U.S.C. § 1332 as amended by the Class Action Fairness Act of 2005 because the matter in

controversy exceeds $5,000,000, exclusive of interest and costs, because the proposed Class

consists of 100 or more members, and minimal diversity exists.

         RESPONSE: Stericycle admits the allegations of paragraph 9.

         10.        This Court has personal jurisdiction over Defendant because Stericycle is

authorized to do business and in fact does business in this district and has sufficient minimum

contacts with this district, and/or otherwise intentionally avails itself of the markets in this state

through the promotion, marketing and sale of its services in this district, to render the exercise of

jurisdiction by this Court permissible under traditional notions of fair play and substantial justice.

         RESPONSE: Stericycle admits the allegations of paragraph 10.

         11.        Pursuant to 28 U.S.C. § 1391, venue is proper in the Northern District of Illinois

because Defendant resides in this District, Defendant is found in this District, and/or Defendant is

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subject to personal jurisdiction in this District. Venue is also proper because the Judicial Panel on

Multidistrict Litigation transferred the cases constituting this MDL to this district. Further, as

discussed below, Stericycle was a Defendant in a qui tam action pending in this Court that settled

since the initiation of this lawsuit.

         RESPONSE: Stericycle admits the allegations of paragraph 11.

                                          III.    PARTIES

         12.        Plaintiff LYNDON VETERINARY CLINIC, PLLC is a New York professional

limited liability company with its principal place of business in Fayetteville, New York. In or about

December 2008, Lyndon Veterinary Clinic entered into a Steri-Safe Service Agreement, under

which Stericycle was to provide medical waste disposal services for a fixed fee. Lyndon Veterinary

Clinic’s agreement with Stericycle did not permit or provide for Stericycle to impose automated

price increases for the services Stericycle performed. Moreover, Stericycle never disclosed to

Lyndon Veterinary Clinic that the agreed fee would be raised during the term of the contract by

automated price increases imposed without notice or explanation. Despite this fact and in violation

of its contract, Stericycle charged Lyndon Veterinary Clinic automated price increases of 21.1%

in 2009, 17.8% in 2010, and 25.4% in 2012. As a result, Lyndon Veterinary Clinic has been

damaged.

         RESPONSE: Stericycle denies the first sentence of paragraph 12 for lack of knowledge or

information sufficient to form a belief as to the truth or falsity thereof. Stericycle admits that in or

about May 2009 it entered into a Steri-Safe Service Agreement with Lyndon Veterinary Clinic

PLLC and that over the course of time, Lyndon was invoiced for certain price increases. Stericycle

denies the remaining allegations of paragraph 12.

         13.        Plaintiff RESEARCHDX, LLC is a California Limited Liability Company with its

principal place of business in Irvine, California, doing business as Pacific Diagnostics Clinical

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Laboratory. In or about October 2010, ResearchDx entered into a Steri-Safe Service Agreement,

under which Stericycle was to provide medical waste disposal services for a fixed fee.

ResearchDx’s agreement with Stericycle did not permit or provide for Stericycle to impose

automated price increases for the services Stericycle performed. Moreover, Stericycle never

disclosed to ResearchDx that the agreed fee would be raised during the term of the contract by

automated price increases without notice or explanation. Despite this fact and in violation of its

contract, Stericycle imposed automated price increases that nearly doubled the price it charged

ResearchDx between October 2010 and August 2013. As a result, ResearchDx has been damaged.

         RESPONSE: Stericycle denies the first sentence of paragraph 13 for lack of knowledge or

information sufficient to form a belief as to the truth or falsity thereof. Stericycle admits that in

October 2010 it entered into a Steri-Safe Service Agreement with ResearchDx and that over the

course of time, ResearchDx was invoiced for certain price increases. Stericycle denies the

remaining allegations of paragraph 13.

         14.        Plaintiff COCHRANTON VETERINARY HOSPITAL is a Pennsylvania

corporation with its principal place of business in Cochranton, Pennsylvania. In or about October

2009, Cochranton Veterinary Hospital entered into a Steri-Safe Service Agreement, under which

Stericycle was to provide medical waste disposal services for a fixed fee. Cochranton Veterinary

Hospital’s agreement with Stericycle did not permit or provide for Stericycle to impose automated

price increases for the services Stericycle performed. Moreover, Stericycle never disclosed to

Cochranton Veterinary Hospital that the agreed fee would be raised during the term of the contract

by automated price increases without notice or explanation. Despite this fact and in violation of its

contract, Stericycle imposed automated price increases of 18% on Cochranton Veterinary Hospital




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between January 2010 and March 2013, for an aggregate price increase of 79% over a period of

26 months. As a result, Cochranton Veterinary Clinic has been damaged.

         RESPONSE: Stericycle denies the first sentence of paragraph 14 for lack of knowledge or

information sufficient to form a belief as to the truth or falsity thereof. Stericycle admits that in

October 2009 it entered into a Steri-Safe Service Agreement with Cochranton Veterinary Hospital

and that over the course of time, Cochranton was invoiced for certain price increases. Stericycle

denies the remaining allegations of paragraph 14.

         15.        Plaintiff AMORES DENTAL CARE (“Amores”) is a dental practice in Miami,

Florida. In or about June of 2010, it entered into a Steri-Safe Service Agreement, under which

Stericycle was to provide medical waste disposal services for a fixed fee of approximately $291

per month. Amores’s agreement with Stericycle did not permit or provide for Stericycle to impose

automated price increases for the services Stericycle performed. Moreover, Stericycle never

disclosed to Amores that the agreed fee would be raised during the term of the contract by

automated price increases without notice or explanation. Despite this fact and in violation of its

contract, Stericycle imposed automated price increases that resulted in the initial monthly fee

increasing to approximately $634 in 2013. As a result, Amores has been damaged.

         RESPONSE: Stericycle denies the first sentence of paragraph 15 for lack of knowledge or

information sufficient to form a belief as to the truth or falsity thereof. Stericycle admits that it

entered into a Steri-Safe Service Agreement with Amores Dental Care in June of 2010 and that

over time Amores was invoiced for certain price increases. Stericycle denies the remaining

allegations of paragraph 15.

         16.        Plaintiff DRS. MCMACKIN & ZIMNOCH, P C. (“M&Z”) is a medical practice in

Washington, D.C. In or about May of 2010, it entered into a Steri-Safe Service Agreement, under




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which Stericycle was to provide medical waste disposal services for a fixed fee. M&Z’s agreement

with Stericycle did not permit or provide for Stericycle to impose automated price increases for

the services Stericycle performed. Moreover, Stericycle never disclosed to M&Z that the agreed

fee would be raised during the term of the contract by automated price increases without notice or

explanation. Despite this fact and in violation of its contract, Stericycle imposed automated price

increases that resulted in the initial monthly fee nearly doubling between the beginning of the

contract term and around April of 2013, when it was increased to $691.40. As a result, M&Z has

been damaged.

         RESPONSE: Stericycle denies the first sentence of paragraph 16 for lack of knowledge or

information sufficient to form a belief as to the truth or falsity thereof. Stericycle admits that it

entered into a Steri-Safe Service Agreement with M&Z in May of 2010 and that over time M&Z

was invoiced for certain price increases. Stericycle denies the remaining allegations of paragraph

16.

         17.        Plaintiff MADISON AVENUE PROFESSIONAL BUILDING (“Madison”) is a

plastic surgery practice in Torrance, California. In or about October 2009, it entered into a Steri-

Safe Service Agreement, under which Stericycle was to provide medical waste disposal services

for a fixed fee. Madison’s agreement with Stericycle did not permit or provide for Stericycle to

impose automated price increases for the services Stericycle performed. Moreover, Stericycle

never disclosed to Madison that the agreed fee would be raised during the term of the contract by

automated price increases without notice or explanation. Between July of 2011 and March of 2013,

Stericycle imposed four separate 18% automatic price increases. Madison was also charged a

California AB fee beginning in February of 2011, and an Environmental/Regulatory fee beginning

in October of 2011. As a result, Madison has been damaged.




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         RESPONSE: Stericycle denies the first sentence of paragraph 17 for lack of knowledge or

information sufficient to form a belief as to the truth or falsity thereof. Stericycle admits that it

entered into a Steri-Safe Service Agreement with Madison in October of 2009 and that over the

course of time Madison was invoiced for certain price increases. Stericycle denies the remaining

allegations of paragraph 17.

         18.        Plaintiff GREATER HAMPSTEAD FAMILY MEDICINE, PC (“Greater

Hampstead”) is a medical practice in Hampstead, New Hampshire. Greater Hampstead has been a

Stericycle customer since at least 2003. During that time, Stericycle consistently and repeatedly

raised the rates it charged Greater Hampstead, in violation of the terms of the agreement between

the parties. Greater Hampstead’s experience since May 2010 is demonstrative. In May 2010,

Greater Hampstead entered into a Steri-Safe Service Agreement, under which Stericycle was to

provide medical waste disposal services for a fixed fee of $50.00 per month. Greater Hampstead’s

agreement with Stericycle did not permit or provide for Stericycle to impose automated price

increases for the services Stericycle performed. Moreover, Stericycle never disclosed to

Hampstead Family Medicine that the agreed fee would be raised automatically during the term of

the contract by automated price increases without notice or explanation. However, between May

2010 and November 2013, Stericycle increased the prices it charged to Greater Hampstead at least

nine times. Stericyle’s November 2013 invoice to Greater Hampstead was for $122.14, well over

twice the amount to which the parties had agreed in May 2010. On information and belief, the

increase in the price Stericycle charged bore no relation to any operational changes brought about

by changes in the law or other increased costs that could justify a price increase under the Service

Agreement. As a result, Greater Hampstead Family Medicine has been damaged.




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         RESPONSE: Stericycle denies the first sentence of paragraph 18 for lack of knowledge or

information sufficient to form a belief as to the truth or falsity thereof. Stericycle admits that

Greater Hampstead has been a customer for a number of years, that it entered into a Steri-Safe

Service Agreement in June of 2010 and that over time Greater Hampstead was invoiced for certain

price increases. Stericycle denies the remaining allegations of paragraph 18.

         19.        Defendant STERICYCLE, INC. is a Delaware corporation with its principal

corporate offices located at 28161 North Keith Drive in Lake Forest, Illinois, 60045. Defendant

has been and still is engaged in the business of providing medical waste disposal services in the

United States and abroad.

         RESPONSE: Stericycle admits the allegations of paragraph 19.

                                  IV.    GENERAL ALLEGATIONS

A.       Stericycle and the Regulated Waste Disposal Business

         20.        After medical waste washed up on several East Coast beaches in 1987, concern

over potential health hazards prompted Congress to enact the Medical Waste Tracking Act

(“MWTA”) of 1988. Among other things, the MWTA enacted requirements related to the disposal

of medical waste. The medical waste industry was an outgrowth of the MWTA.

         RESPONSE: Stericycle admits the allegations of paragraph 20.

         21.        Stericycle has been in the regulated medical waste business since 1989. Regulated

medical waste is generally any medical waste that can cause an infectious disease and includes

single-use disposable items such as needles, syringes, gloves, and other medical supplies; cultures

and stocks of infectious agents; blood and blood products; and regulated pharmaceutical waste,

which consists of expired or recalled pharmaceuticals.

         RESPONSE: Stericycle admits the allegations of paragraph 21.




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         22.        The regulated medical waste services Stericycle provides include its pickup and

disposal services provided to the majority of its customers (called the “Steri-Safe” program),

medical waste disposal, a clinical services program, reusable sharps disposal management

services, pharmaceutical waste disposal, and hazardous waste disposal.

         RESPONSE: Stericycle admits the allegations of paragraph 22.

         23.        Stericycle serves approximately 541,000 customers worldwide. It divides its

customers into two categories, large-quantity and small-quantity waste generators. According to

its website, Stericycle “maintains the nation’s largest network of medical waste transport vehicles,

collection sites, and treatment facilities.” Large-quantity waste generators include hospitals, blood

banks, and pharmaceutical manufacturers. Small-quantity waste generators are such businesses as

outpatient medical clinics, medical and dental offices, long-term and sub-acute care facilities,

veterinary offices, and retail pharmacies. Stericycle’s small-quantity waste generating customers

also include federal and state government agencies, municipalities, prisons, and jails. Stericycle

services both private and governmental entities.

         RESPONSE: Stericycle denies the second sentence of paragraph 23. Stericycle admits the

remaining allegations of paragraph 23.

         24.        Almost all of Stericycle’s customers are small-quantity customers, which include

outpatient clinics, medical and dental offices, long-term and sub-acute care facilities, veterinary

offices, municipalities and retail pharmacies. Ninety-seven percent (524,500) of Stericycle’s

541,000 customers worldwide in 2012 were small-quantity waste generators.

         RESPONSE:          Stericycle admits that a majority of its customers are small quantity

generators which can include out-patient clinics, medical and dental offices, long-term and sub-




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acute care facilities, veterinary offices, municipalities and retail pharmacies. Stericycle denies the

remaining allegations of paragraph 24.

         25.        A majority of Stericycle’s revenues are generated from small-quantity customers.

Stericycle had domestic revenues of $1.37 billion in 2012. Sixty-three percent, or $863 million,

were from small-quantity customers. And more of Stericycle’s profits come from these customers.

As stated in Stericycle’s 2012 10-K, Stericycle achieved “higher gross margins ... with our small-

quantity customers relative to our large-quantity customers.”

         RESPONSE: Stericycle admits the allegations of paragraph 25.

         26.        Defendant targets small-quantity customers as a growth area for its regulated waste

business. According to the Defendant’s 2011 Annual Report it “believes that when small- quantity

regulated waste customers view the potential risks of failing to comply with applicable regulations

they value the services that [Stericycle] provide[s]. [Stericycle] consider[s] this factor to be the

basis for the higher gross margins that [it has] achieved with [its] small-quantity customers relative

to [its] large-quantity customers.”

         RESPONSE: Stericycle denies the first sentence of paragraph 26. Stericycle admits the

remaining allegations of paragraph 26.

         27.        Stericycle has significant customer diversification. No one customer accounts for

more than 1.5% of Stericycle’s total revenues, and its top ten customers account for approximately

6% of the company’s total revenues.

         RESPONSE: Stericycle admits the allegations of paragraph 27.

         28.        Stericycle uses both telemarketing and direct sales efforts to obtain new small-

quantity customers. In addition, Stericycle’s waste disposal drivers actively solicit small- quantity




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customers. Stericycle targets small-quantity customers as a growth area of its regulated waste

business.

         RESPONSE: Stericycle admits that small quantity customers represent a growth area of

its regulated waste business. Stericycle denies the remaining allegations of paragraph 28.

         29.        Stericycle dominates the domestic market for medical waste disposal services.

After going public in 1996, the company went on a buying spree of competitors in the medical

waste disposal industry. As described on its website, “[o]ur medical waste business emerged as

the industry leader when we acquired 14 other acquisitions, including the medical waste division

of BFI - the largest provider of medical waste services at that time.”

         RESPONSE: Stericycle denies the first sentence of paragraph 29. Stericycle admits that

it made certain acquisitions after 1996, and admits the third sentence of paragraph 29. Stericycle

denies the remaining allegations of paragraph 29.

         30.        By 2000, Stericycle was ranked 10th among the United States’ fastest growing

companies by Fortune Magazine.

         RESPONSE: Stericycle admits the allegations of paragraph 30.

         31.        Stericycle has completed nearly 300 acquisitions since 1993. It continues to

aggressively grow today. On a recent earnings call discussing the company’s 2012 second quarter

earnings, Richard T. Kogler, Stericycle’s Chief Operating Officer and Executive Vice President,

stated that “we continue to use our strong free cash flow to drive our growth-through acquisitions.

In this quarter, we closed 8 transactions, 3 domestic and 5 international.” In the first quarter of

2012, Stericycle completed 11 such transactions (6 domestic and 5 international).

         RESPONSE: Stericycle admits the allegations of paragraph 31.




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         32.        One of the consequences of Stericycle’s rapid growth and large market share was

that its customers (and potential customers) had fewer options for competing waste disposal

services. This helped lay the framework for Stericycle’s deceptive charging practices described

below.

         RESPONSE: Stericycle denies the allegations of paragraph 32.

B.       Stericycle’s Standard Form “Steri-Safe Service Agreement”

         33.        When Stericycle acquires a new small-quantity customer, whether from a cold call,

client-initiated call, or through acquisition, Stericycle offers the customer its standard form “Steri-

Safe Service Agreement,” which is a one to five year fixed-price agreement calling for specified,

monthly or quarterly waste pick-ups. A majority of small-quantity customers have the form “Steri-

Safe” small-quantity customer contract.

         RESPONSE: Stericycle admits that certain of its customers enter into a Steri-Safe Service

Agreement, and that some of those Steri-Safe Service agreements have terms of one to five years

and require monthly or quarterly pick-up of medical waste. Stericycle denies the remaining

allegations of paragraph 33.

         34.        Customers for Stericycle’s “Steri-Safe” service pay a predetermined, fixed-price

subscription fee in advance for regulated waste collection and processing services. This service

purports to satisfy the customer’s obligations to dispose of medical waste in compliance with

regulations of state and federal agencies, such as the Environmental Protection Agency and the

Occupational Health and Safety Administration. The standard form Steri-Safe Service Agreement

contains an automatic term renewal provision requiring affirmative action by the customer or

Stericycle to terminate the Agreement or prevent automatic renewal.

         RESPONSE: Stericycle admits that its Steri-Safe services are intended to satisfy a

customer’s obligations to dispose of medical waste in compliance with regulations of state and

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federal agencies and that certain of its agreements contain automatic renewal provisions. Stericyle

denies the remaining allegations of paragraph 34.

         35.        The Steri-Safe Service Agreement is a standard form contract of adhesion drafted

by Steri-Safe with no input from the customer. The terms and conditions of the Steri-Safe Service

Agreement, and other written contracts offered by Stericycle, contain a choice-of-law provision

that states that Illinois law governs any disputes between the parties to the contracts.

         RESPONSE: Stericycle admits that certain of its agreements contain a choice of law

provision stating that Illinois law governs any disputes between the parties to those contracts.

Stericycle denies the remaining allegations of paragraph 35.

         36.        The Steri-Safe Service Agreement consists of a cover sheet listing “Steri-Safe

Program Benefits,” fees, and a line for the customer’s signature and a separate writing titled “Steri-

Safe Terms and Conditions.” A copy of the Steri-Safe Service Agreement provided by Stericycle

to Plaintiff Lyndon Veterinary Clinic is attached as Exhibit 1.

         RESPONSE: Stericycle admits that certain of its Steri-Safe Service Agreements include a

cover sheet listing “Steri-Safe Program Benefits” and a line for the customer’s signature and a

separate document titled “Steri-Safe Terms and Conditions.” Stericycle admits that Exhibit 1 is a

copy of a Steri-Safe Service Agreement with Lyndon Veterinary Clinic. Stericycle denies the

remaining allegations of paragraph 36.

         37.        As reflected on Exhibit 1, the Terms and Conditions provided by Stericycle to

Lyndon Veterinary Clinic were a copy of a facsimile, in reduced type size, and completely

illegible. On information and belief, Stericycle’s standard practice is to provide new customers

Terms and Conditions to the Steri-Safe Service Agreement in similar illegible condition.

         RESPONSE: Stericycle denies the allegations of paragraph 37.




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         38.        In general, the Steri-Safe Terms and Conditions require Stericycle to collect,

transport, treat, and dispose of regulated medical waste generated by the customer during the term

of the agreement.

         RESPONSE: Stericycle admits the allegations of paragraph 38.

         39.        The time period of the Steri-Safe Service Agreement is typically 36 to 60 months

from the effective date. However, the Terms and Conditions provide that the Service Agreement

automatically renews for successive terms equal to the original term. To prevent automatic

renewal, the customer must give 60 days’ written notice of its desire to terminate the agreement,

and the notice must be made during the six-month period prior to the renewal date.

         RESPONSE: Stericycle admits that certain of its Steri-Safe Service Agreements may have

terms from 36-60 months, that certain of its Agreements may automatically renew for successive

terms, and that certain of its Agreements may require the customer to give 60 days’ notice within

six months of the renewal date. Stericycle denies the remaining allegations of paragraph 39.

         40.        The prices the customer must pay for medical waste pickup and disposal are listed

on the cover page of the Service Agreement. Steri-Safe customers typically pay Stericycle a flat

monthly or quarterly fee, the amount of which is expressly stated on the Service Agreement cover

page.

         RESPONSE: Stericycle admits that certain of its Steri-Safe Service Agreements provide

the initial price for medical waste pickup and disposal on the cover page, and that some of its

customers pay a monthly or quarterly fee. Stericycle denies the remaining allegations of paragraph

40.

         41.        Stericycle offers a “select” and a “preferred” Steri-Safe service package. Generally,

the “select” service involves medical waste pickup and disposal and certain educational resources,




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while the “preferred” service adds an OSHA compliance training, evaluation, and guarantee

component.

         RESPONSE: Stericycle admits the allegations of paragraph 41 of the Complaint.

         42.        Section 2(b) of the Terms and Conditions addresses increases in the flat fee during

the term of the contract. The operative language states:

                    Stericycle reserves the right to adjust the contract price to account
                    for operational changes it implements to comply with documented
                    changes in law, to cover increases in the cost of fuel, insurance,
                    residue disposal, or to otherwise address cost escalation.

         RESPONSE: Stericycle admits that certain of its contracts contain terms and conditions

as quoted in paragraph 42. Stericycle denies the remaining allegations of paragraph 42.

         43.        The standard form Steri-Safe contract does not contain other language addressing

Stericycle’s right to increase the flat fee provided for on the cover page of the Steri-Safe Service

Agreement.

         RESPONSE: Stericycle denies the allegations of paragraph 43.

         44.        The Terms and Conditions expressly provide that the Steri-Safe Service Agreement

automatically renews at the end of its term. They state:

                    Subject to the provisions below, the term (“Term”) of this
                    Agreement shall automatically renew for successive terms equal to
                    the original Term (each an “Extension Term”) unless either party
                    has given sixty (60) days notice, in writing, during the six (6) month
                    period prior to the renewal date of its desire to terminate this
                    agreement. All Extension Terms shall be subject to the terms and
                    conditions hereunder.

         RESPONSE: Stericycle admits that certain of its contracts contain language in their terms

and conditions as quoted in paragraph 44. Stericycle denies the remaining allegations of paragraph

44.




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         45.        In sum, the standard form Steri-Safe contract stated that Stericycle may increase its

price only to account for “documented changes in law” and “to cover increases in the cost of fuel,

insurance, residue disposal, or to otherwise address cost escalation.”

         RESPONSE: Stericycle admits that certain of its service contracts contain the language

quoted in paragraph 45. Stericycle denies the remaining allegations of paragraph 45.

         46.        The Steri-Safe contract renews automatically unless the customer provides 60 days’

notice of termination. However, the form Steri-Safe contract does not provide for an increase in

the contract price upon expiration and renewal of the contract. If the contract automatically renews

according to its terms, Stericycle is obligated to continue to provide service at the original contract

price. Under the terms of the contract, Stericycle may not increase its disposal fee except in two

circumstances - to account for “operational changes” implemented “to comply with documented

changes in the law” or to “address cost escalation.”

         RESPONSE: Stericycle admits that certain of its contracts contain automatic renewal

provisions unless the customer provides 60 days’ notice of termination. Stericycle denies the

remaining allegations of paragraph 46.

         47.        Substantially all of Stericycle’s remaining SQ customers are “transactional”

customers. Transactional customers, unlike Steri-Safe customers, do not pay a set monthly fee for

regulated medical waste disposal services. Rather, transactional customers pay for those services

on an as-needed basis, with agreed pricing for waste disposal services, frequently on a per-

container basis, and related services and supplies. Stericycle employs a standardized form of

Service Agreement for its transactional customers that contains the choice of law and price

adjustment provisions as its Steri-Safe Service Agreement and is otherwise materially similar to

that agreement other than the manner by which Stericycle charges for its services.




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         RESPONSE: Stericycle admits that it also serves small quantity customers that are, at

times, referred to as transactional customers. Stericycle further admits that these customers are

charged in a different manner than Steri-Safe customers, including on a per-container basis, as

well as many other pricing options. Stericycle further admits that some transactional customers’

contracts contain choice of law and price adjustment provisions like those found in some Steri-

Safe agreements. Stericycle denies all remaining allegations of paragraph 47.

C.       Stericycle’s Unlawful, Unilateral “Automated Price Increase” Policy

         48.        Despite these clear limitations on the circumstances under which Stericycle could

increase the prices it charged to customers, Stericycle in fact engaged in a systematic, widespread

and deliberate practice of raising its prices without any connection to increases in its costs or

operational changes necessitated by changes in the law governing medical waste disposal.

         RESPONSE: Stericycle denies the allegations of paragraph 48.

         49.        During the relevant time period, Stericycle imposed an automated price increase

(“API”) of 18% during a calendar year on all Steri-Safe contract customers. Stericycle also

imposed APIs on transactional customers whose prices were governed by agreements other than

Stericycle’s standard Steri-Safe contract, but whose terms also did not allow Stericycle to

unilaterally raise prices through the imposition of APIs. On information and belief, none of these

arbitrary price increases were tied to or justified by cost increases or operational changes

implemented to comply with changes in the law.

         RESPONSE: Stericycle denies the allegations of paragraph 49.

         50.        Internal Stericycle documents show that Stericycle knew the APIs it imposed were

not authorized by the contract. [Redacted Portions Filed Under Seal Have Been Omitted]




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         RESPONSE: Stericycle admits that the quoted phrases may be found in Stericycle

documents, but denies that paragraph 50 accurately characterizes the referenced documents.

Stericycle denies the remaining allegations of paragraph 50.

         51.        Still other internal Stericycle documents confirm that the APIs are set at

predetermined arbitrary amounts that have no relation to Stericycle’s “operational changes,

“documented changes in the law,” or “cost escalation. [Redacted Portions Filed Under Seal

Have Been Omitted]

         RESPONSE: Stericycle admits that one chart listing a number of Stericycle customers has

a column labeled “Auto PI Date” and another column entitled “PIPrcnt” followed with varying

percentages. Stericycle denies the remaining allegations of paragraph 51.

         52.        Stericycle’s API policy was never disclosed to its customers or authorized by

Stericycle’s form contracts. In fact, Stericycle induced customers to enter into Steri-Safe Service

Agreements and other form contracts by characterizing those contracts as providing stable fixed

and set fees that the customers would pay for the entire contract term of three to five years.

         RESPONSE: Stericycle denies the allegations of paragraph 52.

         53.        Stericycle concealed its automated price increase scheme from its customers and

the public. When Stericycle imposed automated price increases on its customers, it did not notify

the customer that its prices were being increased, issue any price increase announcements, or

provide any notification to its customers that their rates were going up. Instead, Stericycle simply

issued an invoice for the new, inflated price, without notice, explanation or justification. Stericycle

never disclosed to its customers or to the public that it applied an API algorithm to its customers’

accounts, nor that its practice was to automatically raise the prices it charged to customers with

long term “fixed price” agreements.




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         RESPONSE: Stericycle denies the allegations of paragraph 53.

         54.        Stericycle executives have also attempted to conceal the nature of Stericycle’s API

practices in legal proceedings. In a deposition dated August 26, 2009, in a suit for improperly

charging fuel and energy surcharges ultimately settled by Stericycle, its Chief Operating Officer,

Richard Kogler, was asked under oath what “automated PI” meant, a term that the plaintiffs

counsel was clearly unfamiliar with. Mr. Kogler answered, “[i]t means that it’s automated within

the system, so it’s been preset according to the customer’s contract.” This answer was false,

because automated price increases were not mentioned in customers’ contracts or charged

“according to” those contracts. This false response prevented Stericycle’s API policy from being

exposed during the deposition.

         RESPONSE: Stericycle admits that the quoted statement attributed to Mr. Kogler may be

found in a deposition dated August 26, 2009. Stericycle denies the remaining allegations of

paragraph 54.

         55.        Stericycle particularly targeted small-quantity customers, which form the vast

majority of its client base, with its automated price increase policy, although many of Stericycle’s

larger customers paid APIs as well. Stericycle targeted small-quantity customers because they

were less sophisticated and had far smaller, if any, legal or accounting departments. Therefore,

they were less likely to catch Stericycle’s automatic 18% price increases, which were invoiced

without notice or explanation. And if they did catch it, they were less equipped to challenge

whether the price increase was prompted by an increase in Stericycle’s actual costs.

         RESPONSE: Stericycle denies the allegations of paragraph 55.

         56.        Stericycle used an electronic financial accounting and reporting system, named

“Tower.” The automated price increase process was built into the Tower system, and was designed




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to impose APIs according to a set schedule, usually in 9 or 12 month intervals. [Redacted Portions

Filed Under Seal Have Been Omitted]

         RESPONSE: Stericycle admits it maintained certain electronic information relating to

customers on a system formerly known as Tower, that Tower referenced certain automatic price

increases of 18% for some small quantity customers and certain automatic price increases of 10%

for some large quantity customers. Stericycle denies the remaining allegations of paragraph 56.

         57.        The intervals in which Stericycle imposed APIs varied because Stericycle

modulated the timing of the APIs in order to meet revenue targets, without any reference or

connection to increases in its costs that might have justified a price increase under the terms of the

Steri-Safe Service Agreement. APIs were a major revenue source for Stericycle, and its most senior

executives received monthly reports on the impact of APIs (typically called “API Impact Reports”)

on Stericycle’s overall financial performance.

         RESPONSE: Stericycle admits that during certain periods some executives received

reports reflecting API revenue. Stericycle denies the remaining allegations of paragraph 57.

         58.        Tower contained multiple data fields from which the user could select, depending

on their needs. One data field available on Tower is the percentage amount of the last price increase

charged any particular customer. All price increases that Stericycle imposed on small- quantity

customers can be determined from the electronic records contained in Stericycle’s Tower financial

reporting system.

         RESPONSE: Stericycle admits the first sentence of paragraph 58, and further admits that

the amounts paid by its respective customers may be determined from electronic information

maintained by it. Stericycle denies the remaining allegations of paragraph 58.




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         59.        In addition to the last price increase amount, the fields populated with data on

Tower include, for example, “Last Price Inc[rease] Date,” “PI [Price Increase] exempt,” “PI [Price

Increase] Max Amt (%),” “PI [Price Increase] Expire Date,” and “PI [Price Increase] Reason

Code.” A screen shot from the Tower financial reporting system appears as follows:

         RESPONSE: Stericycle admits that Tower included the data headings listed in paragraph

59 and that paragraph 59 includes a screen shot with information contained in the Tower system.

Stericycle denies the remaining allegations of paragraph 59.

         60.        In the screen shot copied in the foregoing paragraph, an API of 18% is evidenced

in the field in the middle of the screen named “Last Price Inc Amount.”

         RESPONSE: Stericycle admits the allegations of paragraph 60.

         61.        Stericycle did not internally correlate the annual API to its own costs, or to

“documented changes in law.”

         RESPONSE: Stericycle denies the allegations of paragraph 61.

         62.        Stericycle’s costs did not increase by 18% per year, much less every six or nine

months. Yet Stericycle charged its small-quantity customers an 18% automated price increase each

year, or even more frequently.

         RESPONSE: Stericycle denies the allegations of paragraph 62.

         63.        Stericycle’s costs fluctuated from year-to-year. Stericycle did not modify the

amount of the automated price increase to reflect these fluctuations.

         RESPONSE: Stericycle admits that its costs fluctuated from year to year, but denies the

remaining allegations of paragraph 63.

         64.        Stericycle billed most small-quantity customers on a monthly basis. It sent

customers an invoice that listed as a line-item a description of the charge, which for most customers




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stated “Steri-Safe.” The invoice then listed a corresponding flat fee, usually monthly, for the Steri-

Safe service.

         RESPONSE: Stericycle denies the allegations of paragraph 64.

         65.        For example, Plaintiff Lyndon Veterinary Clinic’s invoice dated November 1, 2009

reflects a single line item charge for: “Steri-Safe $56.00.”

         RESPONSE: Stericycle admits that Lyndon was invoiced for a Steri-Safe charge of $56.00

in November 2009, but denies the remaining allegations of paragraph 65.

         66.        Plaintiff Lyndon Veterinary Clinic’s invoice for the succeeding month, December

1, 2009, also contains a single line item charge: “Steri-Safe $66.09.”

         RESPONSE: Stericycle admits that Lyndon was invoiced $66.09 for Steri-Safe services

in December 2009, but denies the remaining allegations of paragraph 66.

         67.        Thus, Lyndon’s December 1, 2009 invoice reflects an API of 18% charged by

Stericycle. Nothing on the invoice calls attention to the fact that the price had increased, explains

the price increase, or otherwise provides notice to Lyndon Veterinary Clinic. The invoice does not

include any explanation of how the price increase is related to any “documented changes in law”

or escalation of Stericycle’s costs, nor did Stericycle send any separate correspondence providing

notification or explanation of the price hike.

         RESPONSE: Stericycle admits that Lyndon’s December 1, 2009 invoice reflects a price

increase of 18% and that Stericycle did not send separate correspondence regarding that price

increase. Stericycle denies the remaining allegations of paragraph 67.

         68.        In addition to charging its customers APIs, Stericycle also increased the prices it

charged to its customers by imposing myriad fees and surcharges such as “Environmental /




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Regulatory Fees,” “Fuel Surcharges,” “Energy Fees” or “California SB 1807 Fees” (collectively,

the “Undisclosed Fees”).

         RESPONSE:           Stericycle admits that certain of its customers were invoiced for

environmental/regulatory fees, fuel surcharges, energy fees or California SB 1807 fees. Stericycle

denies the remaining allegations of paragraph 68.

         69.        Stericycle frequently hid these fees and failed to disclose them to its customers by

embedding them in the supposedly flat fee it charged for the Steri-Safe service. For example, the

May 1, 2011 invoice Stericycle issued to Greater Hampstead Family Medicine simply reflected a

single charge of $61.25 for “Steri-Safe.” However, when Greater Hampstead later requested a copy

of its past invoices, Stericycle provided an invoice in a different form, disclosing for the first time

that the $61.25 charge included charges of $56.00 for “Steri-Safe OSHA-Economy MTH,” $1.00

for a “Monthly Energy Charge” and $4.25 for “Monthly Fuel Charge.” Thus, by combining its

API and the fees and surcharges it added to customer invoices into one generic “Steri-Safe” fee,

Stericycle effectively hid both the amount and existence of its API and the fees and surcharges it

was imposing. Other times, Stericycle disclosed the existence of fees or surcharges, but failed to

either disclose the amount of such fees, or the basis or justification. The effect, however, was the

same: Stericycle consistently obfuscated the amount, source or justification for the fees it imposed,

making it difficult if not impossible for customers to determine what fees if any were legitimate

or the true prices they were being charges for Stericycle’s waste disposal services.

         RESPONSE: Stericycle denies the allegations of paragraph 69.

         70.        Internal Stericycle documents show that it considered fees and surcharges as part

of its pricing strategy, without pegging increases in the fees it charged to actual cost increases.

[Redacted Portions Filed Under Seal Have Been Omitted] Thus, it is clear that Stericycle




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considered those fees not only as cost recovery measures, but also as a component of revenue and

profit generation.

         RESPONSE: Stericycle denies the allegations of paragraph 70.

         71.        On information and belief, the fees and surcharges Stericycle charged were neither

tied to any actual fees or costs incurred by Stericycle or permitted under its standard contracts, or

were tied to cost and fee increases Stericycle had already recouped through automated price

increases. Moreover, Stericycle’s imposition of these fees (which at least purported to have a

relationship to Stericycle’s regulatory and fuel costs) further underlines the fact that its practice of

imposing APIs bore absolutely no connection to increased costs.

         RESPONSE: Stericycle denies the allegations of paragraph 71.

D.       Stericycle’s Misleading and Coercive “Customer Retention” Efforts

         72.        While the vast majority of its customers paid the API, fees and surcharges

Stericycle billed, not all agreed to pay the 18% API or the fees and surcharges for which Stericycle

invoiced them. Stericycle’s business organization included two departments intended to persuade

small-quantity customers to pay as much of the 18% API and fees as possible.

         RESPONSE: Stericycle denies the allegations of paragraph 72.

         73.        Stericycle maintained a customer complaint department. In the month that

Stericycle implemented an API, this department routinely received a large number of complaints

from Steri-Safe and other small-quantity customers. Stericycle closely monitored the number of

complaints it received about its API, as part of its monthly tracking of revenue attributable to API

through its API Impact Reports. Those and other reports includes analyses of “stick rates,” or the

percentage of customers Stericycle could retain despite having imposed a unilateral, unauthorized

automated price increase.




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         RESPONSE: Stericycle admits that it maintained a customer service department and that

certain of its internal documents reference “stick rates.”        Stericycle denies the remaining

allegations of paragraph 73.

         74.        Stericycle employed various false reasons to justify the API to customers,

especially in the customer complaint department. When customers objected to the API, Stericycle

employees were directed by management to use false justifications in an attempt to get these

customers to back down and acquiesce to these increases.

         RESPONSE: Stericycle denies the allegations of paragraph 74.

         75.        Difficult customers that refused to agree to Stericycle’s API were referred to

Stericycle’s “customer retention” department. Stericycle’s practice was for the customer complaint

department to refer to the customer retention department those customers who refused to agree to

the API and threatened to terminate their relationship with Stericycle. Internal documents show

that the customer complaint department was instructed that a customer falling under any of the

following circumstances. [Redacted Portions Filed Under Seal Have Been Omitted]

         For these customers, the retention department was authorized to offer a discount on the

API.

         RESPONSE: Stericycle admits that customers who were contemplating termination of

their agreements, for a variety of reasons, were referred to a customer retention group and that the

customer retention group was authorized to negotiate service and pricing issues with such

customers. Stericycle denies the remaining allegations of paragraph 75.

         76.        Stericycle trained its employees in both the “customer complaint” and “customer

retention” departments to give fabricated reasons for the price increases in an attempt to convince




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customers to pay them. [a]s discussed above, Stericycle did not even attempt to track its APIs with

costs or operational changes. [Redacted Portions Filed Under Seal Have Been Omitted]

         RESPONSE: Stericycle admits that its customer service group was provided with an

internal document entitled “PI Talk Track.” Stericycle denies the remaining allegations of

paragraph 76.

         77.        Stericycle instructed its customer retention employees to offer fake “price

reductions” to get customers to pay as much of the API as possible. If a customer continued to

object despite the false and misleading justifications offered for the API, Stericycle had a system

in place to offer the customer “price reductions,” which were in fact only reduced price increases.

For example, [Redacted Portions Filed Under Seal Have Been Omitted]. On information and

belief, even after agreeing to reduce a customer’s prices or limit the amount by which it would

increase a customer’s prices, Stericycle’s frequent practice was to return the customer to the 18%

API cycle at the next opportunity.

         RESPONSE: Stericycle denies the allegations of paragraph 77.

         78.        To the extent that Stericycle may have “rolled back,” reversed, credited and/or

refunded any fee or charge at issue in this case, it was not intended to resolve any dispute between

the parties, or to fully satisfy the outstanding claims asserted herein.

         RESPONSE: Stericycle denies the allegations of paragraph 78.

         79.        Stericycle also had its employees entice certain of its customers with a novation -

new contracts with purportedly lower rates. Upon information and belief, none of these Plaintiffs

that entered into such a contract have manifested a clear intent to extinguish, waive, settle, or

release any remedies afforded them under the initial contract and/or at issue in this case. Moreover,




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Plaintiffs were fraudulently induced to execute any such agreement: Stericycle did not sufficiently

disclose the full extent of its fraudulent scheme at the time any such novation(s) were executed.

         RESPONSE: Stericycle admits that a number of its customers entered into new contracts,

some of which constituted a novation of prior contracts.            Stericycle denies the remaining

allegations of paragraph 79.

E.       Stericycle Knew Its API Policy Was Wrongful, But Chose to Continue Them In Order
         to Protect Its Revenue

         80.        Stericycle knew since 2004, that several governmental authorities considered

Stericycle’s APIs to be an improper practice. These authorities include New York City, the State

of New Jersey, and the State of Washington. Based upon these entities’ objections, Stericycle

formulated a written policy forbidding the use of the Steri-Safe agreement with its offending API

for use within these jurisdictions.

         RESPONSE: Stericycle admits that certain jurisdictions required particular terms in

contracts with customers in those jurisdictions. Stericycle denies the remaining allegations of

paragraph 80.

         81.        Stericycle also recognized that its larger, more sophisticated customers were not

likely to accept APIs. Certain large valued corporate clients, dubbed “the Nationals,” were

exempted from APIs. Stericycle did not exempt its other customers, however - namely, Steri- Safe

and other generally small-quantity customers throughout the nation which lacked either the

sophistication or bargaining power of the “Nationals.”

         RESPONSE: Stericycle denies the allegations of paragraph 81.

         82.        The Steri-Safe contract template was used for both private and governmental

customers. By 2006, Stericycle executives were aware that federal government customers objected

to Stericycle’s API policy. As a result, in September 2006, Stericycle Vice President Patrick Cott



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sent an e-mail to his subordinates directing them to stop charging APIs to federal government

customers. While Stericycle understood that the terms of the Steri-Safe Service Agreement did not

permit it to continue to charge APIs to the federal government, Stericycle continued to impose

APIs on its small-quantity private sector customers.

         RESPONSE: Stericycle admits that certain Steri-Safe contracts were not intended for use

with certain federal government customers and that certain government customers were intended

to be exempt from automatic price increases. Stericycle denies the remaining allegations of

paragraph 82.

         83.        Mr. Cott’s e-mail disclosed the reason that Stericycle continued its API policy

despite recognizing that it was unlawful: it generated a substantial revenue stream to Stericycle.

Mr. Cott wrote to two subordinates: “Todd/Jerry - please be advised of the potential impact to the

PI Impact Analysis reports that Courtenay sends to Mark/Frank/Rich each month, as these

accounts will no longer be in the mix for automated PIs and fuel charges, and thus you’ll lose

projected PI revenue with this change.” (Emphasis added.)

         RESPONSE: Stericycle admits the referenced language is contained in an email authored

by Mr. Cott. Stericycle denies the remaining allegations of paragraph 83.

F.       The Qui Tam Suit

         84.        Qui tam Relator Jennifer Perez was hired by Stericycle as a temporary employee in

2004, but soon moved into a full-time position in the collections department. In that position, Perez

began to see that Stericycle was overbilling its governmental and non-governmental customers. In

2006, Perez was promoted to the position of government specialist and was put in charge of

preventing and resolving disputes with the governmental accounts.




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         RESPONSE: Stericycle admits the first sentence of paragraph 84 and admits that a part of

Perez’s responsibility included responding to concerns of certain government customers.

Stericycle denies the remaining allegations of paragraph 84.

         85.        Perez discovered that Stericycle was routinely billing all small-quantity customers,

including government customers, with annual 18% increases, adding surcharges, and billing such

customers in advance of any pickups. This resulted in gross overcharges to these accounts.

         RESPONSE: Stericycle denies the allegations of paragraph 85.

         86.        Perez’s supervisors routinely admitted to her that they were aware that Stericycle’s

API practices were improper with respect to the governmental accounts, yet Stericycle continued

these practices unabated.

         RESPONSE: Stericycle denies the allegations of paragraph 86.

         87.        On April 28, 2008, Perez filed a qui tam complaint against Stericycle in this Court.

She filed a First Amended Qui Tam Complaint on June 28, 2010. Perez alleged that Stericycle had

defrauded the United States, 14 states, and the District of Columbia by imposing an automatic

periodic price increase in violation of its contracts with the governmental entities.

         RESPONSE: Stericycle admits that Perez filed a complaint with the referenced allegations.

Stericycle denies the remaining allegations of paragraph 87.

         88.        Ms. Perez alleged in her amended complaint that Stericycle “has defrauded federal,

state and local governments by knowingly or recklessly overcharging its governmental customers

and by withholding accurate pricing data from its customers when it agrees to pick up medical

waste.” Ms. Perez further alleged that “Stericycle fails to inform its customers that despite the

contract price it has agreed to, Stericycle intends to and adds unallowable surcharges to each bill,

in addition to an undisclosed 18% across the board increase every 9 months.”




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         RESPONSE: Stericycle admits that the referenced allegations are contained in Perez’s

Amended Complaint. Stericycle denies the remaining allegations of paragraph 88.

         89.        The amended complaint further alleges that Ms. Perez was hired by Stericycle as a

temporary employee in 2004, but soon moved into a full time position in the collections

department. In that position, [Perez] began to see that Stericycle was overbilling its governmental

customers, in many instances in violation of governmental procurement regulations. In 2006, she

was promoted to the position of government specialist, and was put in charge of preventing and

resolving disputes with the governmental accounts. As a result of her work in that position, [Perez]

learned that Stericycle does business with units at all levels of the federal, state, and local

governments.

         RESPONSE: Stericycle admits that the Amended Complaint contains the allegations

referenced in paragraph 88. Stericycle denies the remaining allegations of paragraph 89.

         90.        Ms. Perez alleged that she “discovered that Stericycle was routinely billing all small

quantity customers, including government customers, with annual 18% increases, adding

surcharges, ... [and] carried out the practices alleged ... across the board with almost all of its small

quantity customers.”

         RESPONSE:          Stericycle admits that Ms. Perez’s Amended Complaint contains the

allegations referenced in paragraph 89. Stericycle denies the remaining allegations of paragraph

90.

         91.        On January 2, 2013, Stericycle settled the case initiated by Perez with the Attorney

General of the State of New York. In the Settlement Agreement, Stericycle admitted that “[d]uring

the period January 1, 2003 through September 30, 2012, with respect to New York Government

Customers, Stericycle presented invoices containing automatic price increases not authorized by




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contracts viz. automatic periodic rate increases (automated price increases or “APIs”), that resulted

in overpayment for products and services.”

         RESPONSE: Stericycle admits that it entered into a Settlement Agreement with the State

of New York on January 2, 2013. Stericycle denies the remaining allegations of paragraph 91.

         92.        The $2.4 million Settlement Agreement between Stericycle and New York provides

that Stericycle will reimburse the State for 100 percent of the charges resulting from automated

price increases. Stericycle was alleged to have overcharged nearly 1,000 New York governmental

entities, including police and fire departments, rescue squads, schools, jails, and hospitals

throughout the state. In addition, Stericycle agreed to pay treble damages to New York State as a

result of the automated price increases.

         RESPONSE: Stericycle admits that it entered into a Settlement Agreement with the State

of New York in the amount of $2.4 million and that New York alleged that it had overcharged

certain New York governmental customers.            Stericycle denies the remaining allegations of

paragraph 92.

         93.        As part of the settlement with the New York Attorney General, Stericycle agreed

to the following:

                    a.     Stericycle shall not, in the future, apply any APIs to New York Government

Customers. Any APIs applied to and paid by New York Government Customers after the period

of the covered conduct shall be credited to customer accounts.

                    b.     Stericycle shall provide New York Government Customers sixty-days’

written notice of and the reasons for any proposed future rate increases directed to any such

customer, and should that customer who receives such notice object to the pending increase, that




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customer shall be permitted to opt-out, without penalty, of all remaining contractual obligations,

upon thirty-days’ written notice to Stericycle.

                    c.     Nothing in this Agreement shall constitute a waiver of the rights of the State

of New York to examine or re-examine the books and records of Stericycle to determine that no

automated price increases have been applied to New York Government Customers.

         RESPONSE: Stericycle admits the allegations of paragraph 93.

         94.        Significantly, the state and federal False Claims Act claims asserted in the qui tam

action only sought relief on behalf of governmental agencies that were improperly overcharged.

The New York Attorney General settlement did not provide relief for private entities, such as

Plaintiffs and members of the Class.

         RESPONSE: Stericycle admits that the qui tam action and the settlement with the New

York Attorney General relate only to governmental agencies. Stericycle denies the remaining

allegations of paragraph 94.

         95.        Perez’s complaint brought on behalf of the United States, the remaining 13 states,

and the District of Columbia is still pending.

         RESPONSE: Stericycle denies the allegations of paragraph 95.

G.       Plaintiffs’ Experience With Stericycle’s Automated Price Increases

         96.        The Plaintiffs’ specific experiences with Stericycle bear out the practices described

in the preceding paragraphs and are typical of the experiences of the members of the proposed

class.

         RESPONSE: Stericycle denies the allegations of paragraph 96.




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         1.         Lyndon Veterinary Clinic.

         97.        Lyndon Veterinary Clinic entered into a Steri-Safe Service Agreement with

Stericycle on May 21, 2009. The Service Agreement provided that Plaintiff would pay Stericycle

a flat monthly fee of $56.00.

         RESPONSE: Stericycle admits the first sentence of paragraph 97. Stericycle denies the

remaining allegations of paragraph 97.

         98.        Stericycle invoiced Plaintiff for $56 per month until June 1, 2009. On that date,

Plaintiffs invoice reflected a 3.1% increase in its monthly fee. Then again, on December 1, 2009,

Stericycle attempted to charge Plaintiff an 18% increase in its monthly fee.

         RESPONSE: Stericycle admits that Lyndon’s December 1, 2009 invoice reflected a price

increase. Stericycle denies the remaining allegations of paragraph 98.

         99.        Shortly after receiving the December 1, 2009 invoice, Plaintiff complained to

Stericycle that the 18% increase violated his Steri-Safe Service Agreement. Stericycle then

rescinded the API, and provided Plaintiff with an “Addendum ‘Price Increase’ Term and Pricing”

that specified that it would experience “a maximum ... annual increase of 5%.”

         RESPONSE: Stericycle admits that in January 2010 Lyndon and Stericycle negotiated an

addendum limiting Lyndon’s annual price increases to 5%. Stericycle denies the remaining

allegations of paragraph 99.

         100.       On June 1, 2009, Plaintiff received an invoice from Stericycle that charged a 5%

increase in its monthly fee.

         RESPONSE: Stericycle denies the allegations of paragraph 100.

         101.       On March 1, 2011, Plaintiff received an invoice that charged it an 8.5% increase in

its monthly fee. Again five months later, on August 1, 2011, Stericycle imposed on Plaintiff an




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additional 7.5% price increase. This was followed by a 1.8% price increase in December 2011. In

all in 2011, Stericycle charged Plaintiff with price increases totaling 17.8%.

         RESPONSE: Stericycle denies the allegations of paragraph 101.

         102.       On May 1, 2012, Stericycle charged Plaintiff with another price increase, this one

of 4.6%. On December 1, 2012, Stericycle charged Plaintiff a price increase of 20.8%. In all,

Stericycle’s 2012 price increases under Plaintiffs Steri-Safe Service Agreement amounted to

25.4%.

         RESPONSE: Stericycle denies the allegations of paragraph 102.

         2.         Cochranton Veterinary Hospital.

         103.       Cochranton Veterinary Hospital entered into a Steri-Safe Service Agreement with

Stericycle on October 21, 2009. The Service Agreement stated that Cochranton Veterinary

Hospital would pay a monthly fee of $570 for thirteen stops per year.

         RESPONSE: Stericycle admits the first sentence of paragraph 103. Stericycle denies the

remaining allegations of paragraph 103.

         104.       Despite the agreed upon price in the Service Agreement, Stericycle increased

Plaintiffs price without notice by 18% on five separate occasions between January 2010 and March

2013.

         RESPONSE: Stericycle admits the Cochranton was invoiced for certain price increases

between January 2010 and March 2013. Stericycle denies the remaining allegations of paragraph

104.

         105.       For example, between January 2010 and March 2012, Cochranton Veterinary

Hospital’s price increased from $579.00 - the agreed contract price - to $1,033.79. This aggregate

increase of 79% over the agreed upon contract price in only 26 months was the result of




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compounding three separate 18% price increases. These price increases are illustrated in the chart

below:

         RESPONSE: Stericycle admits that certain price increases invoiced to Cochranton are

illustrated by the chart contained in paragraph 105, but denies that the chart accurately reflects

Cochranton’s payment history. Stericycle denies the remaining allegations of paragraph 105.

         106.       Cochranton Veterinary Hospital’s June and July 2011 invoices also included a

previously undisclosed separate line item for an “Environmental/Regulatory Fee” of $23.78. That

separate line item charge disappeared in August 2011, and was replaced with the statement that

the amount invoiced “Includes Steri-Safe OSHA Compliance (See Next Page For Details).”

However, the “Next Page” simply showed a separate line item for “Environmental/Regulatory

Fee,” but without showing the actual amount of that fee.

         RESPONSE: Stericycle admits that Cochranton was invoiced for certain environmental

and/or regulatory fees in the amount of $23.78 in June and July 2011. Stericycle denies the

remaining allegations of paragraph 106 for lack of knowledge or information sufficient to form a

belief as to the truth or falsity thereof.

         107.       At the end of November 2012, Cochranton Veterinary Hospital contacted

Stericycle about the excessive price increases. After Cochranton Veterinary Hospital persisted in

its complaints, Stericycle agreed to cut its monthly charge by approximately 60% in order to retain

Cochranton Veterinary Hospital’s business.

         RESPONSE: Stericycle admits that a representative of Cochranton contacted Stericycle

with respect to adjusting his service price in early 2013.       Stericycle denies the remaining

allegations of paragraph 107.




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         108.       Stericycle’s promised price reduction did not last long. For the months of January

and February 2013, Cochranton was billed $361.38 per month. In March 2013, however, Stericycle

increased Cochranton’s monthly charge to $425.80, another price increase of almost 18% from the

agreed price.

         RESPONSE: Stericycle admits that Cochranton was invoiced for services in the amounts

identified in paragraph 107. Stericycle denies the remaining allegations of paragraph 108.

         3.         ResearchDx.

         109.       ResearchDx entered into a Steri-Safe Service Agreement with Stericycle on or

about October 28, 2010. The Service Agreement stated that ResearchDx would pay a monthly fee

of $179 for thirteen stops per year.

         RESPONSE: Stericycle admits the first sentence of paragraph 109. Stericycle denies the

remaining allegations of paragraph 109.

         110.       Stericycle quickly raised the price it charged ResearchDx beyond the $179 to which

it had agreed, both through API and the imposition of fees and surcharges. For example, by

November 1, 2011, Stericycle invoiced ResearchDx for a total of $232.28. That amount included

a charge of $211.22 for the Steri-Safe service (an 18% increase over the agreed price), plus a $4.00

“Monthly Energy Charge,” a $10.83 “Monthly Fuel Charge” and a $6.23 “Environmental /

Regulatory Fee.”

         RESPONSE: Stericycle admits that ResearchDx was invoiced for the amounts identified

in paragraph 101. Stericycle denies the remaining allegations of paragraph 110.

         111.       Those charges remained constant until April 1, 2012, when Stericycle’s invoice to

ResearchDx increased to $276.41, driven by an increase in the line item price for the Steri-Safe

service to $249.24 (another 18% increase over the previous rate of $211.22), and a near doubling

of the “Environmental / Regulatory Fee” to $12.34.

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         RESPONSE: Stericycle admits that ResearchDx was invoiced for the amounts identified

in paragraph 110. Stericycle denies the remaining allegations of paragraph 111.

         112.       On June 1, 2013, Stericycle increased its price yet again, invoicing ResearchDx

$347.04 for Steri-Safe service and increasing its Fuel Charge and Environmental / Regulatory Fee

for a total invoice of $391.16, well over twice the originally contracted price.

         RESPONSE: Stericycle admits that ResearchDx was invoiced for the amounts identified

in paragraph 112. Stericycle denies the remaining allegations of paragraph 112.

         113.       After receiving the June invoice, ResearchDx complained to Stericycle about the

excessive and unauthorized price increases and requested that Stericycle terminate its service.

Stericycle informed ResearchDx that the increases were proper, and that the contract did not allow

ResearchDx to terminate its services. When ResearchDx insisted upon cancellation, the Stericycle

representative finally assented. However, on September 1, 2013, Stericycle issued an invoice to

ResearchDx claiming that it was owed a total of $4,511.52 as “liquidated damages.”

         RESPONSE: Stericycle admits that ResearchDx terminated its contract with Stericycle in

the fall of 2013 and that it was sent an invoice in the amount of $4,511.52 for liquidated damages.

Stericycle denies the remaining allegations of paragraph 113.

         4.         Amores Dental Care.

         114.       Amores entered into a Steri-Safe Service Agreement or about June of 2010 which

stated that Stericycle would provide medical waste disposal services for a fixed fee of

approximately $291 per month.

         RESPONSE: Stericycle admits that it entered into a Steri-Safe Service Agreement with

Amores in June 2010. Stericycle denies the remaining allegations of paragraph 114.




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         115.       In August of 2011, the monthly fee was increased by $52.36 (i.e., 18%) to $343.36.

Its bill was increased again in February of 2012 to $462.35. It was increased to approximately

$543 in November of 2012, and then increased again to $634 in April of 2013.

         RESPONSE: Stericycle admits that Amores was invoiced for the amounts identified in

paragraph 115. Stericycle denies the remaining allegations of paragraph 115.

         5.         Drs. McMackin & Zimnoch, P.C.

         116.       M&Z entered into a Steri-Safe Service Agreement in or about May of 2010 for a

60 month term. It experienced an API in August of 2011, when its monthly fee increased from

$372.21 to $436.22.

         RESPONSE: Stericycle admits that it entered into a Steri-Safe Service Agreement with

M&Z in May 2010 for a term of 60 months and that M&Z was invoiced for services in the amount

of $436.22 in August of 2011. Stericycle denies the remaining allegations of paragraph 116.

         117.       M&Z experienced another API in April of 2012 when its fee was increased from

$443.26 to $509.69.

         RESPONSE: Stericycle admits that M&Z was invoiced for services in the amount of

$509.69 in April of 2012. Stericycle denies the remaining allegations of paragraph 117.

         118.       M&Z experienced yet another API in October of 2012 when its fee was increased

from $509.69 to $598.91. Finally, its fee was increased to $691.40 in or around April of 2013.

         RESPONSE: Stericycle admits that M&Z was invoiced for services in the amount of

$598.91 in October of 2012, and was invoiced for services in the amount of $691.40 in April 2013.

Stericycle denies the remaining allegations of paragraph 118.




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         6.         Madison Avenue Professional Building.

         119.       Madison entered into a Steri-Safe Service Agreement with Stericycle in October

2009. It experienced its first 18% API in July of 2011 when its fee was increased from $299.70 to

$353.65.

         RESPONSE: Stericycle admits that it entered into a Steri-Safe Service Agreement with

Madison in October 2009 and that Madison was invoiced for services in the amount of $353.65 in

July of 2011. Stericycle denies the remaining allegations of paragraph 119.

         120.       Madison experienced a second 18% API in March of 2012 when its API was

increased from $353.65 to $417.31.

         RESPONSE: Stericycle admits that Madison was invoiced for services in the amount of

$417.31 in March of 2012. Stericycle denies the remaining allegations of paragraph 120.

         121.       Madison experienced a third 18% API in August of 2012 when its API was

increased from $417.31 to $492.43.

         RESPONSE: Stericycle admits that Madison was invoiced for services in the amount of

$492.43 in August of 2012. Stericycle denies the remaining allegations of paragraph 121.

         122.       Madison experienced a fourth 18% API in March of 2013 when its API was

increased from $492.43 to $581.07.

         RESPONSE: Stericycle admits that Madison was invoiced for services in the amount of

$581.07 in March of 2013. Stericycle denies the remaining allegations of paragraph 122.

         7.         Greater Hampstead Family Medicine.

         123.       Greater Hampstead Family Medicine entered into a Steri-Safe Service Agreement

with Stericycle in or about May 2010. The May 2010 Service Agreement replaced an earlier

agreement with Stericycle for Steri-Safe medical waste collection and disposal services. Greater




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Hampstead had discovered that Stericycle had been overcharging it under its earlier agreement,

which had provided for a fixed price during the contract term.

         RESPONSE: Stericycle admits that it entered into a Steri-Safe Service Agreement with

Greater Hampstead in June of 2010, which replaced an earlier agreement between Stericycle and

Greater Hampstead for medical waste collection and disposal services. Stericycle denies the

remaining allegations of paragraph 123.

         124.       Greater Hampstead’s May 2010 agreement with Stericycle included an addendum

stating that “Customer and Stericycle agree that any price adjustment made pursuant to Paragraph

2(b), within each (12) month period from the effective date of the Agreement, will not exceed

12%.”

         RESPONSE: Stericycle admits the allegations of paragraph 124.

         125.       Nevertheless, Stericycle imposed price increases on Greater Hampstead on nine

different occasions between May 2011 and November 2013, resulting in a price by November

2013 that was more than double the contract price. Those price increases were not tied to any

operational changes or other cost increases that may have justified a price increase under the terms

of the Service Agreement.

         RESPONSE: Stericycle admits that it invoiced Greater Hampstead for services which

included certain price increases between May 2011 and November 2013. Stericycle denies the

remaining allegations of paragraph 125.

H.       Stericycle’s Practice of Charging Steri-Safe Customers Automated Price Increases
         Has Caused Damage to Plaintiffs and the Class

         126.       According to Stericycle’s 10-K, Stericycle had domestic revenues of $1.37 billion

in 2012. Most of these revenues - 63 percent, or $863 million - were from small-quantity

customers.



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         RESPONSE: Stericycle admits the allegations of paragraph 126.

         127.       Further, more of Stericycle’s profits come from small-quantity customers. As stated

in Stericycle’s 2012 10-K, Stericycle achieved “higher gross margins ... with our small- quantity

customers relative to our large-quantity customers.”

         RESPONSE: Stericycle admits that its 2012 10-K contains the language quoted in

paragraph 126. Stericycle denies the remaining allegations of paragraph 127.

         128.       A majority of Stericycle’s small-quantity customers have the standard form Steri-

Safe Service Agreement. For at least the past five years, most the financial growth in the small-

quantity customer segment of Stericycle’s business has been because of increased Steri-Safe

revenue.

         RESPONSE: Stericycle denies the allegations of paragraph 128.

         129.       During the relevant period, Stericycle imposed an automatic 18% annual price

increase on all Steri-Safe contract customers, and on most small-quantity customers. In some

cases, Stericycle ultimately was able to force the customer to pay only a portion of the 18% API,

and in some years Stericycle charged customers price increases of more than 18%.

         RESPONSE: Stericycle denies the allegations of paragraph 129.

         130.       The APIs charged by Stericycle were not calculated using dollar amounts of the

costs incurred by Stericycle, whether for changes in law, fuel, insurance, residue disposal, or other

costs.

         RESPONSE: Stericycle denies the allegations of paragraph 130.

         131.       Column E of the table below shows, for the years 2006 through 2012, the revenue

Stericycle unlawfully earned from small-quantity customers if it recouped from them the 18% API

that was its standard policy and practice, based on Stericycle’s annual form 10-K reports filed with




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the United States Securities and Exchange Commission. The exact amount of Stericycle’s unlawful

overcharges of its small-quantity customers can be easily derived from the data maintained on

Stericycle’s Tower electronic financial accounting and reporting system, which is in the exclusive

control of Stericycle.

         RESPONSE: Stericycle denies the allegations of paragraph 131.

                               V.     CLASS ACTION ALLEGATIONS

         132.       Plaintiffs bring this action pursuant to Rule 23(a), 23(b)(2) and 23(b)(3) of the

Federal Rules of Civil Procedure, on behalf of themselves and the members of the following Class:

                    All persons and entities that, between March 8, 2003, through the
                    date of trial resided in the United States (except Washington and
                    Alaska), were identified by Stericycle as a “Small Quantity” or
                    “SO” customer, and were charged and paid more than their
                    contractually-agreed price for Stericycle’s medical waste disposal
                    goods and services pursuant to Stericycle’s automated price increase
                    policy. Governmental entities whose claims were asserted in United
                    States ex rel. Perez v. Stericycle Inc. shall be excluded from the
                    class.

         RESPONSE: Stericycle admits that Plaintiffs purport to bring this action on behalf of

themselves and others, pursuant to the provisions of Rule 23(a), 23(b)(2) and 23(b)(3) of the

Federal Rules of Civil Procedure. Stericycle denies the remaining allegations of paragraph 132.

         133.       Excluded from the Class are Defendant, any entity in which Defendant has a

controlling interest or which has a controlling interest in Defendant, and Defendant’s legal

representatives, predecessors, successors, assigns, and employees, as well as governmental entities

whose claims are asserted in United States ex rel. Perez v. Stericycle, Inc.               Residents of

Washington, whose rates are regulated by the government and set by tariff, are also excluded.

Residents of Alaska are excluded because it does not appear that there are any members of the

proposed class in Alaska.




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         RESPONSE: Stericycle notes that no answer is required of it with respect to paragraph

133. To the extent an answer is deemed necessary, Stericycle denies the allegations of paragraph

133.

         134.       The definition of the Class is unambiguous. Plaintiffs are members of the Class

they seek to represent. Members of the Class can be identified using Defendant’s records of

contracts and other information that is kept by Defendant in the usual course of business and/or in

the control of Defendant. Records kept by Defendant identify the Class members who entered into

a Steri-Safe Service Agreement or other small-quantity waste disposal contracts with Defendant.

The members of the Class can be notified of the Class action through publication and direct

mailings to address lists maintained in the usual course of business by Defendant.

         RESPONSE: Stericycle denies the allegations of paragraph 134.

         135.       Pursuant to Rule 23(a)(1), Class members are so numerous that their individual

joinder is impracticable. As of December 31, 2012, Stericycle had over 500,000 small-quantity

waste disposal customers, and a majority of these customers are potential Class members. The

precise number of Class members has been calculated by Plaintiffs to include 256,405 current and

former Stericycle customers; a number that clearly renders joinder impossible.

         RESPONSE: Stericycle denies the allegations of paragraph 135.

         136.       Pursuant to Rule 23(a)(2) and (b)(3), questions of fact and law, except as to the

amount of damages each member of the Class sustained, are common to the Class. Common

questions of law and fact predominate over the questions affecting only individual Class members.

Some of the common legal and factual questions include:

         (a)        Whether Defendant used standard form contracts with its small-quantity customers
                    that charged a flat fee for regulated medical waste disposal;




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         (b)        Whether the claims of Plaintiffs and the Class are governed by a choice- of-law
                    provision in Defendant’s standard form contracts, and whether pursuant to that
                    provision Illinois law governs their claims;

         (c)        Whether Defendant imposed an automated price increase on small- quantity waste
                    disposal customers who entered into fee-based medical waste disposal contracts
                    with Stericycle;

         (d)        Whether Defendant’s standard form contracts with its small-quantity medical waste
                    disposal customers provided that Defendant could adjust the contract price only to
                    account for operational changes it implemented to comply with documented
                    changes in law, to cover increases in the cost of fuel, insurance, residue disposal,
                    or to otherwise address cost escalation.

         (e)        Whether Defendant’s APIs were authorized by its standard form contracts;

         (f)        Whether Defendant calculated its API using dollar amounts of the costs it incurred,
                    whether for changes in law, fuel, insurance, residue disposal, or other costs;

         (g)        Whether Defendant programmed its financial accounting and reporting system to
                    apply a periodic 18% price increase automatically to small-quantity medical waste
                    disposal customer accounts.

         (h)        Whether Defendant maintained its financial accounting and reporting system to
                    track APIs imposed on small-quantity waste disposal customers;

         (i)        Whether Defendant instructed employees in its office responsible for responding to
                    customer complaints to give customers pretextual reasons to justify APIs;

         (j)        Whether Defendant disclosed its policy to impose APIs to its small- quantity
                    medical waste disposal customers;

         (k)        Whether Defendant breached its contracts with Plaintiffs and Class members;

         (l)        Whether Defendant’s conduct violated the Illinois Uniform Deceptive Trade
                    Practices Act;

         (m)        Whether Defendant defrauded Plaintiffs and members of the Class in violation of
                    applicable consumer protection laws; and

         (n)        The nature and extent of damages and other remedies to which the conduct of
                    Defendant entitles Plaintiffs and the Class members.

         RESPONSE: Stericycle denies the allegations of paragraph 136, including subparagraphs

(a) through (n) inclusive.




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         137.       Defendant engaged in a common course of conduct giving rise to the legal rights

sought to be enforced by Plaintiffs and the Class members. A single, common policy to impose

automated price increases not calculated based on costs incurred by Defendant is at issue in this

case, along with Defendant’s consistent, uniform practice of offering false and misleading

information to induce contract formation and prevent customers from noticing price increases or

terminating contracts when they did notice the increased prices. Individual questions, if any, pale

by comparison to the numerous common questions that dominate.

         RESPONSE: Stericycle denies the allegations of paragraph 137.

         138.       The injuries sustained by the Class members flow, in each instance, from a common

nucleus of operative facts, Defendant’s misconduct. Each Class member was invoiced for an

automated price increase that was not calculated using dollar amounts of the costs Defendant

incurred and was not authorized by the Class member’s contract. Defendant engaged in a common

scheme and practice of offering false and misleading information to induce entry into the contracts,

and once the contracts were executed, engaged in further fraudulent conduct in concealing the

price increases, offering false and misleading information regarding the price increases as well as

illusory “price reductions” to customers who complained about its pricing practices.

         RESPONSE: Stericycle denies the allegations of paragraph 138.

         139.       Pursuant to Rule 23(a)(3), Plaintiffs’ claims are typical of the claims of the other

members of the Class. Plaintiffs, like other members of the Class, paid an automated price increase

that was not calculated using dollar amounts of the costs Defendant incurred and was not

authorized by its contract with Defendant, were induced to enter into the contracts by fraudulent

and misleading representations, and had the true nature and existence of Defendant’s API practices

concealed from them. Plaintiffs were subject to, and were financially harmed by, a common policy




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and practice applied by Defendant to all Class members to charge automated price increases, offer

misleading and false information, and conceal material facts both in the execution and

administration of the contracts.

         RESPONSE: Stericycle denies the allegations of paragraph 139.

         140.       Pursuant to Rule 23(a)(4) and (g)(1), Plaintiffs will fairly and adequately protect

the interests of the Class. Plaintiffs are familiar with the basic facts that form the bases of the Class

members’ claims. Plaintiffs’ interests do not conflict with the interests of the other Class members

that they seek to represent. Plaintiffs have retained counsel competent and experienced in class

action litigation and intend to prosecute this action vigorously. Interim lead counsel has

successfully prosecuted complex class actions, including consumer protection class actions.

Plaintiffs and their counsel will fairly and adequately protect the interests of the Class members.

         RESPONSE:           Stericycle admits that Plaintiffs have retained competent counsel

experienced in class action litigation. Stericycle denies the remaining allegations of paragraph 140

for lack of knowledge or information sufficient to form a belief as to the truth or falsity thereof.

         141.       Pursuant to Rules 23(b)(3), a class action is superior to other available methods for

the fair and efficient adjudication of this controversy because joinder of all Class members is

impracticable. The prosecution of separate actions by individual members of the Class would

impose heavy burdens upon the courts and Defendant, and would create a risk of inconsistent or

varying adjudications of the questions of law and fact common to the Class. A class action would

achieve substantial economies of time, effort and expense, and would assure uniformity of decision

as to persons similarly situated without sacrificing procedural fairness.

         RESPONSE: Stericycle denies the allegations of paragraph 141.




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         142.       Individual litigation of the legal and factual issues raised by the conduct of

Defendant would increase delay and expense to all parties and to the court system. The class action

device presents far fewer management difficulties and provides the benefits of a single, uniform

adjudication, economies of scale and comprehensive supervision by a single court. Given the

similar nature of the claims of the members of the Class and the uniform application of Illinois law

to most if not all of the claims of Plaintiff and the members of the Class, the Class’s claims will be

effectively managed by the Court and the parties.

         RESPONSE: Stericycle denies the allegations of paragraph 142.

                                      VI.    CHOICE OF LAW

         143.       The “Governing Law” section of the Service Agreement states that “[t]his

Agreement shall be governed by and constructed in accordance with the laws of the State of Illinois

without regard to the conflicts of laws or rules of any jurisdiction.”

         RESPONSE: Stericycle admits that certain of its agreements with its medical waste

customers state that those agreements shall be governed by and construed in accordance with the

laws of the State of Illinois without regard to conflicts of law or rules of any jurisdiction. Stericycle

denies the remaining allegations of paragraph 143.

         144.       Pursuant to this Choice of Law provision and the RESTATEMENT (SECOND) OF

CONFLICT OF LAWS § 187, Illinois law applies to the claims of Plaintiffs and the Class.

         RESPONSE: Stericycle admits that Illinois law may apply to the claims of some of the

Plaintiffs and the alleged Class. Stericycle denies the remaining allegations of paragraph 144 of

the Complaint.

         145.       The conduct and claims in this case have a substantial connection to Illinois.

Stericycle maintains its principal place of business in Lake Forest, Illinois (from where its deceive

conduct primarily and substantially emanated). Upon information and belief, Plaintiffs’ Service

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Agreements were received and approved by Stericycle in Illinois, and Stericycle required Plaintiffs

to submit their payments to an address in Carol Stream, Illinois. Stericycle also maintained its

financial and billing systems in Illinois, and used its automated systems to apply the APIs to

customer accounts and issued invoices reflecting those price increases in Illinois. Stericycle’s

customer service representatives were also based in Illinois, and the uniform scripts and “talk

tracks” they used to misinform and mislead customers about the justifications for APIs were

generated by management personnel in Illinois. Under the circumstances, it may be said that the

transactions at issue took place primarily and substantially within the State of Illinois.

         RESPONSE: Stericycle admits that certain of its agreements were received and approved

by Stericycle in Illinois, that certain customer payments were submitted to an address in Illinois,

and that certain customer service representatives were also based in Illinois. Stericycle also admits

that its principal place of business is in Lake Forest, Illinois. Stericycle denies the remaining

allegations of paragraph 145.

         146.       In the alternative, should the Court find that the Illinois Consumer Fraud and

Deceptive Business Practices Act, 815 ILCS § 505/2 and/or Illinois Uniform Deceptive Trade

Practices Act, 815 ILCS § 510/2 cannot be applied to the proposed nationwide class of Stericycle

customers, Plaintiffs assert claims under the consumer protection laws the jurisdictions specified

below, in which members of the proposed class reside.

         RESPONSE: Stericycle admits that Plaintiffs purport to assert claims under the consumer

protection laws of certain jurisdictions specified. Stericycle denies the remaining allegations of

paragraph 146.

                        VII.    TOLLING OF STATUTES OF LIMITATION

         147.       Any applicable statute of limitations has been tolled by Defendant’s knowing and

active concealment of its deceptive practices. Plaintiffs and members of the Class could not have

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reasonably discovered the true extent of its overbilling practices until shortly before this class

action litigation was commenced.

         RESPONSE: Stericycle denies the allegations of paragraph 147.

         148.       As a result of the active concealment by Defendant, any and all applicable statutes

of limitations otherwise applicable to the allegations herein have been tolled.

         RESPONSE: Stericycle denies the allegations of paragraph 148.

                                      VIII. CAUSES OF ACTION

                            COUNT I
  BREACH OF CONTRACT AND BREACH OF THE COVENANT OF GOOD FAITH
                 AND FAIR DEALING (ILLINOIS LAW)

         149.       Plaintiffs reallege and incorporate by reference the preceding allegations as if fully

set forth above.

         RESPONSE:           Stericycle incorporates by reference its responses to the preceding

allegations as if fully set forth herein.

         150.       Defendant formed agreements and entered into valid and enforceable contracts with

Plaintiffs and members of the Class including offer, acceptance, and consideration. Defendant

provided Plaintiffs and members of the Class with a written standard form agreement drafted by

Defendant, and Plaintiffs and members of the Class accepted Defendant’s offer and exchanged

consideration by using Defendant’s services and paying for them. Specifically, and as discussed

above, the parties’ contractual relationships were defined by Stericycle’s Steri-Safe Service

Agreements and other agreements between Stericycle and its customers.

         RESPONSE: Stericycle admits that for certain members of the alleged class Stericycle

formed agreements and entered into valid and enforceable contracts including offer, acceptance,

and consideration, and that for certain members of the alleged class Stericycle provided the

members with a written standard form agreement drafted by Stericycle and that certain members


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accepted Stericycle’s offer and exchanged consideration by using Stericycle’s services and paying

for them. Stericycle further admits the last sentence of paragraph 150. Stericycle denies the

remaining allegations of paragraph 150.

         151.       Plaintiffs and members of the Class have performed all, or substantially all, of the

obligations imposed on them under their contracts with Defendant.

         RESPONSE: Stericycle denies the allegations of paragraph 151.

         152.       Plaintiffs and members of the Class paid regulated medical waste disposal fees

demanded by Stericycle.

         RESPONSE: Stericycle admits that certain of its customers paid the regulated medical

waste disposal fees charged by Stericycle.           Stericycle denies the remaining allegations of

paragraph 152.

         153.       Section 2(b) of the Steri-Safe Service Agreement and other Stericycle standardized

Service Agreements gives Stericycle the ability to unilaterally “adjust the contract price to account

for operational changes it implements to comply with documented changes in law, to cover

increases in the cost of fuel, insurance, or residue disposal, or to otherwise address cost escalation.”

         RESPONSE: Stericycle admits that certain of its Steri-Safe service agreements and other

medical waste disposal agreements contain the language quoted in paragraph 153. Stericycle

denies the remaining allegations of paragraph 153.

         154.       Defendant breached its agreements with Plaintiffs and members of the Class by

routinely charging an automated price increase and imposing other Undisclosed Fees that bore no

relation to costs Defendant incurred or the fees paid for medical waste disposal services. Such

automated increases and Undisclosed Fees were not provided for in the contracts or agreed to by

Plaintiffs and members of the Class. Specifically, Stericycle’s practice of systematically imposing




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arbitrary 18% price increases was not to account for “operational changes” it implemented “to

comply with documented changes in the law,” to cover its cost increases, or to “address cost

escalation.”

         RESPONSE: Stericycle denies the allegations of paragraph 154.

         155.       Good faith is an element of every contract in Illinois. In Illinois, all contracts

impose upon each party a duty of good faith and fair dealing. Good faith and fair dealing are

violated by a party’s refusal to comply with contract terms despite knowledge that it was violating

the contract and knowledge that refusal would result in serious damage. Examples of bad faith

include where a party interprets a contract in an unreasonable manner, and where it uses abusive

or coercive practices designed to compel compromise on a claim.

         RESPONSE: Stericycle admits that, in Illinois, common law imposes upon all contracts

an implied duty of good faith and fair dealing. Stericycle denies the remaining allegations of

paragraph 155.

         156.       In this case, Defendant engaged in the following conduct that breached its duty of

good faith and fair conduct: (1) Defendant charged automated price increases undisclosed and

unauthorized by its contract with Plaintiffs and the Class; (2) Defendant used standard form

contracts that it drafted with lengthy Terms and Conditions that were difficult to read and, often,

transmitted to Class members in illegible form; (3) Defendant intentionally drafted loose language

in order to create ambiguity over the basis and legal justification for automated price increases,

knowing that its small-quantity customers were not legally sophisticated; (4) Defendant

incorporated long-terms into its standard form contracts and incorporated automatic renewal and

burdensome cancellation provisions; (5) Defendant concealed the true reasons for APIs, fees and

surcharges from small-quantity customers and adopted an organizational structure designed to




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maximize payment of APIs from customers who complained; (6) a large portion of Defendant’s

profit and revenue were derived from illegal APIs; and (7) Defendant knew its practice of charging

APIs was wrong and had been rejected by governmental authorities, but it continued to impose

APIs on customers who were unaware of them.

         RESPONSE: Stericycle denies the allegations of paragraph 156.

         157.       Since at least 2003, Stericycle has breached the covenant of good faith and fair

dealing in its agreements with Plaintiffs and members of the Class through its API policies and

practices as alleged herein.

         RESPONSE: Stericycle denies the allegations of paragraph 157.

         158.       Defendant had an implied duty of good faith and fair dealing to Plaintiffs and the

Class. Pursuant to that duty, Plaintiffs and the Class had a reasonable and justified expectation that

they would not be charged automated price increases. They had a reasonable and justified

expectation that the fee they paid Defendant would not increase automatically, unrelated to

changes in Stericycle’s costs for providing its services. Defendant breached that duty when it

charged Plaintiffs and the Class APIs and assessed other fees.

         RESPONSE: Stericycle admits that, with respect to certain of its customers, Stericycle has

an implied duty of good faith and fair dealing. Stericycle denies the remaining allegations of

paragraph 158.

         159.       As a direct and proximate result of Defendant’s breaches of its agreements,

Plaintiffs and the Class have suffered damages in an amount to be proven at trial.

         RESPONSE: Stericycle denies the allegations of paragraph 159.

         160.       Any payments made by Plaintiffs and Class members to Stericycle were not

voluntary in that they were procured as a result of Stericycle’s contractual breaches and other




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misconduct (and/or were made under the mistaken notion that Stericycle was not imposing extra-

contractual fees and charges). The material facts concerning Stericycle’s pricing scheme were

concealed from and inaccessible to Plaintiffs; thus, any such payments were not made with full

knowledge of Stericycle’s deliberately concealed fraudulent scheme. Moreover, Plaintiffs were

coerced to make their payments to Stericycle, as their failure to do so would have resulted in

disastrous consequences to the business of Plaintiffs and Class members (i.e., their medical waste

pickup and disposal services could have been suspended).

         RESPONSE: Stericycle denies the allegations of paragraph 160.

                               COUNT II
VIOLATIONS OF THE ILLINOIS CONSUMER FRAUD AND DECEPTIVE BUSINESS
    PRACTICES ACT, 815 ILCS § 505/1, ET SEQ., AND ILLINOIS UNIFORM
          DECEPTIVE TRADE PRACTICES ACT, 815 ILCS § 510/2

         161.       Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         RESPONSE:          Stericycle incorporates by reference its responses to the preceding

allegations as if fully set forth herein.

         162.       Defendant engaged in an unfair or deceptive act or practice by imposing automated

price increases and charging undisclosed fees. Defendant knew that its practice was not authorized

by its contracts with Plaintiffs and the Class, but it nevertheless used various forms of pressure and

trickery to force small-quantity customers to pay as much of the APIs as possible.

         RESPONSE: Stericycle denies the allegations of paragraph 162.

         163.       Defendant further engaged in unfair or deceptive acts or practices by knowingly or

willfully concealing, suppressing or omitting materials facts from Plaintiffs and members of the

Class and by making affirmative misrepresentations in order to induce Plaintiffs and members of

the Class to enter into medical waste disposal contracts and/or remain Stericycle customers.



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Defendant’s scheme included concealing that its agreements were not actually fixed- price

agreements, and that it used an automated price increase algorithm in its computer system to

increase customers’ fees, lying to customers about the rates that would be charged, issuing invoices

to customers reflecting prices greater than those authorized by their contracts and without notice

of the price increase, imposing Undisclosed Fees purporting to reflect regulatory, fuel and energy

costs knowing that those fees bore no relation to such costs or that Stericycle had already recouped

those fees through price increases, giving customers fabricated and misleading rationales for price

increases, offering discounts on APIs only to complaining customers and only if they threatened

to cease using Defendant’s services, and imposing APIs on customers even after agreeing to reduce

the contract price following customer complaints. Defendant’s material misstatements and

omissions were likely to and did in fact deceive reasonable customers, including Plaintiffs, about

Stericycle’s services and the prices they would be and were in fact charged.

         RESPONSE: Stericycle denies the allegations of paragraph 163.

         164.       Defendant’s practice offended public policy, was immoral, unethical, oppressive,

and unscrupulous, and caused substantial injury to consumers.

         RESPONSE: Stericycle denies the allegations of paragraph 164.

         165.       Buyers such as Plaintiffs and members of the Class would have acted differently

knowing that Defendant imposed APIs, and APIs concerned the type of information upon which a

buyer would be expected to rely in making a decision whether to purchase. Plaintiffs and members

of the Class would have wanted to know, as would any reasonable person, that Defendant imposed

automated price increases that bore no relation to its actual costs, and this information would have

changed their and any reasonable customer’s decision to use Defendant’s services. Plaintiffs and

members of the Class would have wanted to know that the amounts reflected on the invoices




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Stericycle issued to them did not accurately reflect the amount they were actually obligated to pay

pursuant to their agreement with Stericycle, and would not have paid the excess charges had they

known the truth.

         RESPONSE: Stericycle denies the allegations of paragraph 165.

         166.       Defendant intended that Plaintiffs and members of the Class would rely on its

misrepresentations as well as the material facts that it concealed, suppressed and omitted, as

described above. Among other things, Defendant intended that Plaintiffs and members of the Class

rely upon its representations that their regulated medical waste disposal fees would be fixed for

the term of the contract and only increase for the reasons stated in the contract. Defendant also

intended that Plaintiffs and members of the Class rely upon the invoices it issued as accurate

statements of amounts properly owing, as well as upon the other statements it made in attempting

to justify price increases to complaining customers. Plaintiffs and members of the Class relied

upon Defendant’s fraudulent and misleading statements, concealments, suppressions, and

omissions, and as a result paid higher fees than they would have absent Defendant’s wrongful

conduct.

         RESPONSE: Stericycle denies the allegations of paragraph 166.

         167.       Defendant’s conduct is a violation of the Illinois Uniform Deceptive Trade

Practices Act, 815 ILCS § 510/2. As a violation of Section 2 of the Illinois Uniform Deceptive

Trade Practices Act, Defendant’s conduct is a violation of Section 2 of the Illinois Consumer Fraud

and Deceptive Business Practices Act, 815 ILCS § 505/2.

         RESPONSE: Stericycle denies the allegations of paragraph 167.




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         168.       Defendant’s unfair or deceptive act or practice occurred in the course of conduct

involving trade or commerce, and was directed to the market in general. The complained-of

conduct in this case implicates consumer protection concerns.

         RESPONSE:          Stericycle admits that the conduct alleged herein involved trade or

commerce. Stericycle denies the remaining allegations of paragraph 168.

         169.       Defendant’s unfair or deceptive acts or practices proximately caused injury and

ascertainable loss to Plaintiffs and members of the Class.

         RESPONSE: Stericycle denies the allegations of paragraph 169.

         170.       Plaintiffs and the Class are entitled to actual damages, punitive damages, and

reasonable attorneys’ fees and costs, as well as any other relief the Court deems proper.

         RESPONSE: Stericycle denies the allegations of paragraph 170.

                             COUNT III
VIOLATIONS OF THE ARIZONA CONSUMER FRAUD ACT (ARIZ. REV. STAT. § 44-
                           1521, ET SEQ.)

         171.       Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         RESPONSE:          Stericycle incorporates by reference its responses to the preceding

allegations as if fully set forth herein.

         172.       Plaintiffs, members of the Class and Defendant are each “persons” as defined by

ARIZ. REV. STAT. § 44-1521(6). The medical waste disposal service Stericycle sold to Plaintiffs

and the Class are “merchandise” as defined by ARIZ. REV. STAT. § 44-1521(5).

         RESPONSE: Stericycle admits the allegations of paragraph 172.

         173.       The Arizona Consumer Fraud Act proscribes “[t]he act, use or employment by any

person of any deception, deceptive act or practice, fraud, false pretense, false promise,

misrepresentation, or concealment, suppression or omission of any material fact with intent that

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others rely upon such concealment, suppression or omission, in connection with the sale or

advertisement of any merchandise whether or not any person has in fact been misled, deceived or

damaged thereby.” ARIZ. REV. STAT. § 44-1522(A).

         RESPONSE: Stericycle admits the allegations of paragraph 173.

         174.       Stericycle willfully failed to disclose and actively concealed material facts

regarding the prices it charged its customers, the reasons for price increases it imposed, and the

amounts owed to it for services it performed as described above. Accordingly, Stericycle engaged

in unlawful trade practices, including advertising its Steri-Safe service with the intent not to sell

them at the prices it advertised; omitting material facts in describing its services and the prices it

would charge; and representing that its agreements with its customers conferred or involves rights,

remedies, or obligations which they did not confer or involve. By concealing and omitting material

information from Plaintiffs and the Class and by making affirmative misrepresentations as

described above, Defendant engaged in deceptive business practices prohibited by the Arizona

Consumer Fraud Act, ARIZ. REV. STAT. § 44-1522(A). Stericycle’s material omissions and

misrepresentations were made with the intent that Plaintiffs and the Class would rely upon them,

and Plaintiffs and the Class did in fact rely upon those material omissions and misstatements.

         RESPONSE: Stericycle denies the allegations of paragraph 174.

         175.       Stericycle’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs.

         RESPONSE: Stericycle denies the allegations of paragraph 175.

         176.       Plaintiffs and the Class sustained damages as a result of the Defendant’s unlawful

acts and are, therefore, entitled to damages and other relief as provided under the Arizona

Consumer Fraud Act.




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         RESPONSE: Stericycle denies the allegations of paragraph 176.

         177.       Plaintiffs also seek court costs and attorneys’ fees as a result of Defendant’s

violation of the Arizona Consumer Fraud Act as provided in ARIZ. REV. STAT. § 12-341.01.

         RESPONSE: Stericycle denies that Plaintiffs are entitled to the relief they seek in

paragraph 177.

                            COUNT IV
  VIOLATIONS OF THE ARKANSAS DECEPTIVE TRADE PRACTICES ACT (ARK.
                     CODE ANN. § 4-88-101 ET SEQ.)

         178.       Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         RESPONSE:          Stericycle incorporates by reference its responses to the preceding

allegations as if fully set forth herein.

         179.       Plaintiffs, members of the Class and Defendant are each “persons” as defined by

ARK. CODE ANN. § 4-88-102(5). The medical waste disposal service Stericycle sold to Plaintiffs

and the Class are “Services” as defined by ARK. CODE ANN. § 4-88-102(7).

         RESPONSE: Stericycle admits the allegations of paragraph 179.

         180.       The Arkansas Deceptive Trade Practices Act proscribes “[d]eceptive and

unconscionable trade practices,” and “[t]he act, use or employment by any person of any deception,

fraud or false pretense” or the “concealment, suppression or omission of any material fact with

intent that others rely upon the concealment, suppression or omission” when done “in connection

with the sale or advertisement of any goods, [or] services ...” ARK. CODE ANN. §§ 4-88-107,

108.

         RESPONSE: Stericycle admits the allegations of paragraph 180.

         181.       Stericycle willfully failed to disclose and actively concealed material facts

regarding the prices it charged its customers, the reasons for price increases it imposed, and the

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amounts owed to it for services it performed as described above. Accordingly, Stericycle engaged

in unlawful trade practices, including advertising its Steri-Safe service with the intent not to sell

them at the prices it advertised; omitting material facts in describing its services and the prices it

would charge; and representing that its agreements with its customers conferred or involves rights,

remedies, or obligations which they did not confer or involve. By concealing and omitting material

information from Plaintiffs and the Class and by making affirmative misrepresentations as

described above, Defendant engaged in deceptive business practices prohibited by the Arkansas

Deceptive Trade Practices Act, ARK. CODE ANN. § 4-88-101, et seq. Stericycle’s material

omissions and misrepresentations were made with the intent that Plaintiffs and the Class would

rely upon them, and Plaintiffs and the Class did in fact rely upon those material omissions and

misstatements.

         RESPONSE: Stericycle denies the allegations of paragraph 181.

         182.       Stericycle’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs.

         RESPONSE: Stericycle denies the allegations of paragraph 182.

         183.       Plaintiffs and the Class sustained actual damages or injury as a result of the

Defendant’s unlawful acts and are, therefore, entitled to damages and other relief as provided under

the Arkansas Deceptive Trade Practices Act.

         RESPONSE: Stericycle denies the allegations of paragraph 183.

         184.       Plaintiffs also seek court costs and attorneys’ fees as a result of Defendant’s

violation of the Arkansas Deceptive Trade Practices Act as provided in ARK. CODE ANN. § 4-

88- 113(f).




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         RESPONSE: Stericycle denies that Plaintiffs are entitled to the relief they seek in

paragraph 184.

                             COUNT V
 VIOLATIONS OF THE CALIFORNIA UNFAIR COMPETITION LAW (CAL. BUS. &
                     PROF. CODE § 17200, ET SEQ.)

         185.       Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         RESPONSE:          Stericycle incorporates by reference its responses to the preceding

allegations as if fully set forth herein.

         186.       The California Unfair Competition Law (“UCL”) prohibits acts of “unfair

competition,” including any “unlawful, unfair or fraudulent business act or practice” and “unfair,

deceptive, untrue or misleading advertising.” CAL BUS. & PROF. CODE § 17200.

         RESPONSE: Stericycle admits the allegations of paragraph 186.

         187.       Stericycle has engaged in unfair competition and unfair, unlawful or fraudulent

business practices by its conduct, statements, and omissions described above. In addition,

Stericycle has engaged in unfair competition by asserting a contractual right which it did not have,

and by engaging in fraud and deceit.

         RESPONSE: Stericycle denies the allegations of paragraph 187.

         188.       The acts engaged in by Stericycle are fraudulent and show a pattern of untruthful

statements, false representations, concealment, intent to mislead, and a conspiracy to defraud that

were all part of a scheme to mislead.

         RESPONSE: Stericycle denies the allegations of paragraph 188.

         189.       These acts and practices have deceived Plaintiffs and are likely to deceive the

public. Stericycle’s violations of the UCL and caused injuries to Plaintiffs and Class members.

         RESPONSE: Stericycle denies the allegations of paragraph 189.

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         190.       The injuries suffered by Plaintiffs and Class members are greatly outweighed by

any potential countervailing benefit to consumers or to competition. Nor are they injuries that

Plaintiffs and Class members should have or could have reasonably avoided.

         RESPONSE: Stericycle denies the allegations of paragraph 190.

         191.       Stericycle’s representations and acts as set out above induced Plaintiffs and others

similarly situated to pay the amounts charged by Stericycle, allowing it to collect sums never

agreed to by customers. Plaintiffs reserve the right to identify additional violations by Stericycle

as may be established through discovery.

         RESPONSE: Stericycle denies the allegations of paragraph 191.

         192.       As a direct and legal result of its unlawful, unfair, and fraudulent conduct described

above, Defendant has been unjustly enriched. Specifically, Stericycle has been unjustly enriched

by the receipt of large sums of ill-gotten gains from the deceptive and excessive monthly charges

they have levied on customers.

         RESPONSE: Stericycle denies the allegations of paragraph 192.

         193.       Pursuant to California Business and Professions Code section 17203, Plaintiffs seek

an order of this Court:

                    a.     Compelling Stericycle to make restitution to the general public for all funds

unlawfully, unfairly, or fraudulently obtained by Stericycle as a result of its violations of California

Business and Professions Code section 17200 et seq.;

                    b.     Declaring that Stericycle has violated the provisions of California Business

& Professions Code section 17200, and California Business and Professions Code section 17500,

and any other statutory violations; and




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                    c.     Enjoining and restraining Stericycle from charging and collecting additional

unauthorized monthly charges from customers.

         RESPONSE: Stericycle denies that Plaintiffs are entitled to the relief they seek in

paragraph 193.

         194.       In prosecuting this action for the enforcement of important rights affecting the

public interest, Plaintiffs seek to recover attorney fees under (i) section 1021.5 of the Code of Civil

Procedure and/or (ii) the “common fund” doctrine available to a prevailing plaintiff who wins

restitutionary relief for the general public.

         RESPONSE: Stericycle denies that Plaintiffs are entitled to the relief they seek in

paragraph 194.

                             COUNT VI
  VIOLATION OF CALIFORNIA FALSE ADVERTISING LAW (CAL. BUS. & PROF.
                       CODE §§ 17500, ET SEQ.)

         195.       Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

though fully set forth herein.

         RESPONSE:           Stericycle incorporates by reference its responses to the preceding

allegations as if fully set forth herein.

         196.       California Bus. & Prof. Code § 17500 states: ““It is unlawful for any ... corporation

... with intent directly or indirectly to dispose of real or personal property ... to induce the public

to enter into any obligation relating thereto, to make or disseminate or cause to be made or

disseminated … from this state before the public in any state, in any newspaper or other

publication, or any advertising device, ... or in any other manner or means whatever, including

over the Internet, any statement … which is untrue or misleading, and which is known, or which

by the exercise of reasonable care should be known, to be untrue or misleading.”

         RESPONSE: Stericycle admits the allegations of paragraph 196.

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         197.       Stericycle caused to be made or disseminated through California and the United

States, through advertising, marketing and other publications, statements that were untrue or

misleading, and which were known, or which by the exercise of reasonable care should have been

known to Stericycle, to be untrue and misleading to Plaintiffs and the other Class members.

         RESPONSE: Stericycle denies the allegations of paragraph 197.

         198.       Stericycle has violated § 17500 because its misrepresentations and omissions

regarding the prices it charged, its policies and practices relating to APIs, and the justifications it

gave for imposing APIs detailed in this Complaint were material and likely to deceive a reasonable

consumer.

         RESPONSE: Stericycle denies the allegations of paragraph 198.

         199.       Plaintiffs and the other Class members have suffered an injury in fact, including the

loss of money or property, as a result of Stericycle’s unfair, unlawful, and/or deceptive practices.

In choosing to contract with or remain customers of Stericycle, Plaintiffs and the other Class

members relied on the misrepresentations and/or omissions of Stericycle with respect to the price

they would pay, the legitimacy of charges reflected on invoices issued by Stericycle, and

justifications asserted for APIs Stericycle imposed upon them. Had Plaintiffs and the other Class

members known the true facts, they would not have agreed to enter into a contract with Stericycle,

remained Stericycle customers, and/or paid as much for regulated medical waste collection and

disposal services. Accordingly, Plaintiffs and the other Class members overpaid and did not

receive the benefit of their bargain.

         RESPONSE: Stericycle denies the allegations of paragraph 199.

         200.       All of the wrongful conduct alleged herein occurred, and continues to occur, in the

conduct of Stericycle’s business. Stericycle’s wrongful conduct is part of a pattern or generalized




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course of conduct that was perpetuated and repeated, both in the State of California and

nationwide.

         RESPONSE: Stericycle denies the allegations of paragraph 200.

                             COUNT VII
 VIOLATIONS OF THE COLORADO CONSUMER PROTECTION ACT (COLO. REV.
                       STAT. § 6-1-101, ET SEQ.)

         201.       Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         RESPONSE:          Stericycle incorporates by reference its responses to the preceding

allegations as if fully set forth herein.

         202.       Colorado’s Consumer Protection Act (the “CCPA”) prohibits a person from

engaging in a “deceptive trade practice,” which includes making “false or misleading statements

of fact concerning the price of goods, services, or property or the reasons for, existence of, or

amounts of price reductions.” COLO. REV. STAT. § 6-1-105(1)(b), (e). The CCPA further

prohibits “representing] that goods ... are of a particular standard, quality, or grade ... if he knows

or should know that they are of another,” and “advertising] goods ... with intent not to sell them as

advertised,” and failing “to disclose material information concerning goods, services, or property

which information was known at the time of an advertisement or sale if such failure to disclose

such information was intended to induce the consumer to enter into a transaction.” COLO. REV.

STAT. § 6-1-105(1)(l), (u).

         RESPONSE: Stericycle admits that the quoted language is a correct statement of the law

as set forth in COLO. REV. STAT. § 6-1-105(1)(g), (l), and (u).

         203.       Stericycle is a “person” within the meaning of COLO. REV. STAT. § 6-1-102(6).

         RESPONSE: Stericycle admits the allegations of paragraph 203.




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         204.       In the course of Stericycle’s business, it made false and misleading statements

concerning the price of the services it offered and the reasons for, existence of or amounts of price

reductions it offered to customers who complained about price increases. Stericycle also willfully

misrepresented, failed to disclose, and actively concealed material information concerning the

medical waste collection and disposal services it offered with the intent to induce Plaintiffs and

members of the Class to enter into agreements and /or remain Stericycle customers, and otherwise

engaged in conduct likely to deceive. Accordingly, Stericycle engaged in unlawful trade practices

prohibited by the Colorado Consumer Protection Act.

         RESPONSE: Stericycle denies the allegations of paragraph 204.

         205.       Stericycle’s actions as set forth above occurred in the conduct of trade or

commerce.

         RESPONSE:          Stericycle admits that the conduct alleged herein involved trade or

commerce. Stericycle denies the remaining allegations of paragraph 205.

         206.       Stericycle’s conduct proximately caused injuries to Plaintiffs and the other Class

members. Stericycle’s material misstatements and omissions were intended to, and had the

capacity to deceive consumers, to attract consumer’s to Stericycle’s services, and to induce a party

to act or refrain from acting. Plaintiffs were induced to act or refrain from acting by Stericycle’s

false and misleading statements and omissions.

         RESPONSE: Stericycle denies the allegations of paragraph 206.

         207.       Plaintiffs and the Class members were injured as a result of Stericycle’s conduct in

that Plaintiffs and the Class overpaid for medical waste collection and disposal services and did

not receive the benefit of their bargain. These injuries are the direct and natural consequence of

Stericycle’s misrepresentations and omissions




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         RESPONSE: Stericycle denies the allegations of paragraph 207.

                             COUNT VIII
 VIOLATIONS OF THE CONNECTICUT UNFAIR TRADE PRACTICES ACT (CONN.
                  GEN. STAT. ANN. § 42-110A, ET SEQ.)

         208.       Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         RESPONSE:          Stericycle incorporates by reference its responses to the preceding

allegations as if fully set forth herein.

         209.       Plaintiffs and Defendant are “persons” as defined by CONN. GEN. STAT. ANN.

§ 42-110a(3).

         RESPONSE: Stericycle admits the allegations of paragraph 209.

         210.       The Connecticut Unfair Trade Practices Act (“CUTPA”) provides that “[n]o person

shall engage in unfair methods of competition and unfair or deceptive acts or practices in the

conduct of any trade or commerce. CONN. GEN. STAT. ANN. § 42-110b(a). The CUTPA further

provides a private right of action under CONN. GEN. STAT. ANN. § 42-110g(a).

         RESPONSE: Stericycle admits the allegations of paragraph 210.

         211.       Stericycle willfully failed to disclose and actively concealed material facts

regarding the prices it charged its customers, the reasons for price increases it imposed, and the

amounts owed to it for services it performed as described above. Accordingly, Stericycle engaged

in unlawful trade practices, including advertising its Steri-Safe service with the intent not to sell

them at the prices it advertised; omitting material facts in describing its services and the prices it

would charge; and representing that its agreements with its customers conferred or involves rights,

remedies, or obligations which they did not confer or involve. By concealing and omitting material

information from Plaintiffs and the Class and by making affirmative misrepresentations as

described above, Defendant engaged in deceptive business practices prohibited by the CUTPA.

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Stericycle’s material omissions and misrepresentations were made with the intent that Plaintiffs

and the Class would rely upon them, and Plaintiffs and the Class did in fact rely upon those material

omissions and misstatements.

         RESPONSE: Stericycle denies the allegations of paragraph 211.

         212.       Stericycle’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs.

         RESPONSE: Stericycle denies the allegations of paragraph 212.

         213.       Plaintiffs and the Class sustained damages as a result of the Defendant’s unlawful

acts and are, therefore, entitled to damages and other relief as provided under the CUTPA.

         RESPONSE: Stericycle denies the allegations of paragraph 213.

         214.       Plaintiffs also seek court costs and attorneys’ fees as a result of Defendant’s

violation of the CUTPA as provided in CONN. GEN. STAT. ANN. § 42-110g(d). A copy of this

Complaint has been mailed to the Attorney General and the Commissioner of Consumer Protection

of the State of Connecticut in accordance with CONN. GEN. STAT. ANN. § 42-110g(c).

         RESPONSE: Stericycle denies that Plaintiffs are entitled to the relief sought in paragraph

214. With respect to the second sentence of paragraph 214, Stericycle denies the allegations for

lack of knowledge or information sufficient to form a belief as to the truth or falsity thereof.

                                     COUNT IX
                VIOLATIONS OF THE DELAWARE CONSUMER FRAUD ACT
                            (6 DEL. CODE § 2513, ET SEQ.)

         215.       Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         RESPONSE:          Stericycle incorporates by reference its responses to the preceding

allegations as if fully set forth herein.




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         216.       The Delaware Consumer Fraud Act (“CFA”) prohibits the “act, use or employment

by any person of any deception, fraud, false pretense, false promise, misrepresentation, or the

concealment, suppression, or omission of any material fact with intent that others rely upon such

concealment, suppression or omission, in connection with the sale, lease or advertisement of any

merchandise, whether or not any person has in fact been misled, deceived or damaged thereby.” 6

DEL. CODE § 2513(a).

         RESPONSE: Stericycle admits the allegations of paragraph 216.

         217.       Stericycle is a person with the meaning of 6 DEL. CODE § 2511(7).

         RESPONSE: Stericycle admits the allegations of paragraph 217.

         218.       As described herein Stericycle willfully failed to disclose and actively concealed

material facts regarding the prices it charged its customers, the reasons for price increases it

imposed, and the amounts owed to it for services it performed as described above. Accordingly,

Stericycle engaged in unlawful trade practices, including advertising its Steri-Safe service with the

intent not to sell them at the prices it advertised; omitting material facts in describing its services

and the prices it would charge; and representing that its agreements with its customers conferred

or involves rights, remedies, or obligations which they did not confer or involve. By concealing

and omitting material information from Plaintiffs and the Class and by making affirmative

misrepresentations as described above, Defendant engaged in deceptive business practices

prohibited by the Delaware Consumer Fraud Act. Stericycle’s material omissions and

misrepresentations were made with the intent that Plaintiffs and the Class would rely upon them,

and Plaintiffs and the Class did in fact rely upon those material omissions and misstatements.

         RESPONSE: Stericycle denies the allegations of paragraph 218.




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         219.       Stericycle’s actions as set forth above occurred in the conduct of trade or

commerce.

         RESPONSE:          Stericycle admits that the conduct alleged herein involved trade or

commerce. Stericycle denies the remaining allegations of paragraph 219.

         220.       Stericycle’s conduct proximately caused injuries to Plaintiffs and the Class.

         RESPONSE: Stericycle denies the allegations of paragraph 220.

         221.       Plaintiffs are entitled to recover damages, as well as costs and reasonable attorney

fees as provided by the Delaware Consumer Fraud Act.

         RESPONSE: Stericycle denies that Plaintiffs are entitled to the relief they seek in

paragraph 221.

                                 COUNT X
      VIOLATIONS OF THE DELAWARE DECEPTIVE TRADE PRACTICES ACT
                       (6 DEL. CODE § 2532, ET SEQ.)

         222.       Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         RESPONSE:           Stericycle incorporates by reference its responses to the preceding

allegations as if fully set forth herein.

         223.       Delaware’s Deceptive Trade Practices Act (“DTPA”) prohibits a person from

engaging in a “deceptive trade practice,” which includes: “(9) Advertising] goods or services with

intent not to sell them as advertised”; “(11) Makes false or misleading statements of fact

concerning the reasons for, existence of, or amounts of, price reductions,” or “(12) Engag[ing] in

any other conduct which similarly creates a likelihood of confusion or of misunderstanding.”

         RESPONSE: Stericycle admits the allegations of paragraph 223.

         224.       Stericycle is a person within the meaning of 6 DEL. CODE § 2531(5).

         RESPONSE: Stericycle admits the allegations of paragraph 224.

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         225.       Stericycle willfully failed to disclose and actively concealed material facts

regarding the prices it charged its customers, the reasons for price increases it imposed, and the

amounts owed to it for services it performed as described above. Accordingly, Stericycle engaged

in deceptive trade practices, including advertising its Steri-Safe service with the intent not to sell

them at the prices it advertised; omitting material facts in describing its services and the prices it

would charge; making false and misleading statements of fact regarding the supposed price

reductions it offered to customers who complained about Stericycle’s price increases, and

otherwise engaging in conduct which created a likelihood of confusion or misunderstanding.

         RESPONSE: Stericycle denies the allegations of paragraph 225.

         226.       Stericycle’s actions as set forth above occurred in the conduct of trade or

commerce.

         RESPONSE:          Stericycle admits that the conduct alleged herein involved trade or

commerce. Stericycle denies the remaining allegations of paragraph 226.

         227.       Stericycle’s conduct proximately caused injuries to Plaintiffs and the Class.

         RESPONSE: Stericycle denies the allegations of paragraph 227.

         228.       Plaintiffs seek injunctive relief and, if awarded damages under Delaware common

law or Delaware Consumer Fraud Act, treble damages pursuant to 6 DEL. CODE § 2533(c).

         RESPONSE: Stericycle denies that Plaintiffs are entitled to the relief they seek in

paragraph 228.

                              COUNT XI
  VIOLATIONS OF THE FLORIDA DECEPTIVE AND UNFAIR TRADE PRACTICES
                   ACT (FLA. STAT. § 501.201, ET SEQ.)

         229.       Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.




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         RESPONSE:          Stericycle incorporates by reference its responses to the preceding

allegations as if fully set forth herein.

         230.       As amended by the Florida Legislature in 2001, a “person” who has suffered a loss

as a result of a violation of the Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”) has

standing to sue under that statute. See FLA. STAT. § 501.211(2). This 2001 amendment replaced

the word “consumer” with “person.” Plaintiffs and Class members are “persons” within the

meaning of the FDUTPA.

         RESPONSE: Stericycle admits the allegations of paragraph 230.

         231.       As set forth herein, Stericycle engaged in unfair methods of competition,

unconscionable acts or practices, and unfair or deceptive acts or practices in the conduct of trade

or commerce in violation of the FDUPTA.

         RESPONSE: Stericycle denies the allegations of paragraph 231.

         232.       Stericycle’s conduct caused Plaintiffs and Class members to suffer actual damages.

         RESPONSE: Stericycle denies the allegations of paragraph 232.

                                     COUNT XII
                VIOLATIONS OF THE IDAHO CONSUMER PROTECTION ACT
                           (IDAHO CIV. CODE § 480, ET SEQ.)

         233.       Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         RESPONSE:          Stericycle incorporates by reference its responses to the preceding

allegations as if fully set forth herein.

         234.       Defendants and Plaintiffs are “persons” under IDAHO CIVIL CODE § 48-602(1).

         RESPONSE: Stericycle admits the allegations of paragraph 234.

         235.       Defendants engaged in unfair methods and practices in the conduct of its trade or

commerce in violation of the Idaho Consumer Protection Act (“ICPA”), IDAHO CIV. CODE

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§ 48¬603, including “(9) Advertising goods or services with intent not to sell them as advertised,”

“(11) Making false or misleading statements of fact concerning the reasons for, existence of, or

amounts of price reductions,” “(17) Engaging in any act or practice which is otherwise misleading,

false, or deceptive to the consumer,” or “Engaging in any unconscionable method, act or practice

in the conduct of trade or commerce.”

         RESPONSE: Stericycle denies the allegations of paragraph 235.

         236.       As set forth herein, Stericycle engaged in unfair methods of competition,

unconscionable acts or practices, and unfair or deceptive acts or practices in the conduct of trade

or commerce in violation of the ICPA. Stericycle willfully failed to disclose and actively concealed

material facts regarding the prices it charged its customers, the reasons for price increases it

imposed, and the amounts owed to it for services it performed as described above. Accordingly,

Stericycle engaged in deceptive trade practices, including advertising its Steri-Safe service with

the intent not to sell them at the prices it advertised; omitting material facts in describing its

services and the prices it would charge; knowingly making false and misleading statements of fact

regarding the supposed price reductions it offered to customers who complained about Stericycle’s

price increases, and otherwise engaging in conduct which created a likelihood of confusion or

misunderstanding.

         RESPONSE: Stericycle denies the allegations of paragraph 236.

         237.       Stericycle’s misleading, false, or deceptive acts or practices were likely to and did

in fact deceive reasonable consumers, including Plaintiffs.

         RESPONSE: Stericycle denies the allegations of paragraph 237.

         238.       As a result of its violations of the ICPA detailed above, Defendant caused actual

damage and ascertainable loss to Plaintiffs.




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         RESPONSE: Stericycle denies the allegations of paragraph 238.

         2439. Stericycle’s deliberate, widespread and systematic fraud was so egregious and

carried out with such willful and conscious disregard of the rights of its customers that its sales

conduct would outrage or offend the public conscience, and is therefore an unconscionable

method, act or practice under the ICPA as provided in IDAHO CIVIL CODE § 48-603C.

         RESPONSE: Stericycle denies the allegations of paragraph 239.

         240.       Plaintiffs seek punitive damages against Defendant because its violations were

repeated and flagrant, conducted over the course of many years, with knowledge of the illegality

of the conduct, and therefore warrants the imposition of punitive damages under IDAHO CIVIL

CODE § 48-608(1).

         RESPONSE: Stericycle denies that Plaintiffs are entitled to the relief they seek in

paragraph 240. Stericycle further denies the allegations of paragraph 240.

         241.       Plaintiffs further seek an order enjoining Defendants’ unfair or deceptive acts or

practices, punitive damages, costs of Court, attorney’s fees under IDAHO CIVIL CODE § 48-608,

and any other just and proper relief available under the ICPA.

         RESPONSE: Stericycle denies that Plaintiffs are entitled to the relief they seek in

paragraph 241.

                               COUNT XIV
      VIOLATIONS OF THE MASSACHUSETTS CONSUMER PROTECTION ACT
                    (MASS. GEN. LAWS CH. 93A, ET SEQ.)

         242.       Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         RESPONSE:          Stericycle incorporates by reference its responses to the preceding

allegations as if fully set forth herein.




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         243.       Plaintiffs intend to assert a claim under the Massachusetts Consumer Protection Act

(“MCPA”), which makes it unlawful to engage in any “[u]nfair methods of competition or

deceptive acts or practices in the conduct of any trade or commerce.” MASS. GEN. LAWS CH.

93A, § 2(1). Plaintiffs will make a demand in satisfaction of MASS. GEN. LAWS CH. 93A,

§ 9(3), and may amend this Complaint to assert claims under the MCPA once the required 30 days

have elapsed. This paragraph is included for purposes of notice only and is not intended to actually

assert a claim under the MCPA.

         RESPONSE: Stericycle denies that Plaintiffs are entitled to the relief they intend to seek

in paragraph 243.

                             COUNT XIV
  VIOLATIONS OF THE MINNESOTA PREVENTION OF CONSUMER FRAUD ACT
                       (MINN. STAT. § 325F.68-70)

         244.       Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         RESPONSE:          Stericycle incorporates by reference its responses to the preceding

allegations as if fully set forth herein.

         245.       Plaintiffs, members of the Class and Defendant are each “persons” as defined by

the Minnesota Prevention of Consumer Fraud Act (“MPCFA”), MINN. STAT. § 325F.68(2). The

medical waste disposal service Stericycle sold to Plaintiffs and the Class are “Merchandise” as

defined by MINN. STAT. § 325F.68(2).

         RESPONSE: Stericycle admits the allegations of paragraph 245.

         246.       The MPCFA makes unlawful “[t]he act, use, or employment by any person of any

fraud, false pretense, false promise, misrepresentation, misleading statement or deceptive practice,

with the intent that others rely thereon in connection with the sale of any merchandise, whether or

not any person has in fact been misled, deceived, or damaged thereby.” MINN. STAT.

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§ 325F.69(1). The MPCFA further provides that “any person injured by a violation of [the

MPCFA] may bring a civil action and recover damages, together with costs and disbursements,

including costs of investigation and reasonable attorney’s fees, and receive other equitable relief

as determined by the court.” MINN. STAT. § 8.31(3a).

         RESPONSE: Stericycle admits the allegations of paragraph 246.

         247.       Stericycle willfully failed to disclose and actively concealed material facts

regarding the prices it charged its customers, the reasons for price increases it imposed, and the

amounts owed to it for services it performed as described above. Accordingly, Stericycle engaged

in unlawful trade practices, including advertising its Steri-Safe service with the intent not to sell

them at the prices it advertised; omitting material facts in describing its services and the prices it

would charge; and representing that its agreements with its customers conferred or involves rights,

remedies, or obligations which they did not confer or involve. By concealing and omitting material

information from Plaintiffs and the Class and by making affirmative misrepresentations as

described above, Defendant engaged in deceptive business practices prohibited by the MPCFA.

Stericycle’s material omissions and misrepresentations were made with the intent that Plaintiffs

and the Class would rely upon them, and Plaintiffs and the Class did in fact rely upon those material

omissions and misstatements.

         RESPONSE: Stericycle denies the allegations of paragraph 247.

         248.       Stericycle’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs.

         RESPONSE: Stericycle denies the allegations of paragraph 248.

         249.       Plaintiffs and the Class sustained damages as a result of the Defendant’s unlawful

acts and are, therefore, entitled to damages and other relief as provided under the MPCFA.




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         RESPONSE: Stericycle denies the allegations of paragraph 249.

                              COUNT XV
   VIOLATIONS OF THE NEBRASKA CONSUMER PROTECTION ACT (NEB. REV.
                        STAT. § 87-301, ET SEQ.)

         250.       Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         RESPONSE:           Stericycle incorporates by reference its responses to the preceding

allegations as if fully set forth herein.

         251.       The Nebraska Consumer Protection Act (“NCPA”) prohibits “unfair or deceptive

acts or practices in the conduct of any trade or commerce.”

         RESPONSE: Stericycle admits the allegations of paragraph 252.

         252.       “Trade or commerce” means “the sale of assets or services and any commerce

directly or indirectly affecting the people of the State of Nebraska.”

         RESPONSE: Stericycle admits that the allegations of paragraph 252 reflect the language

set forth in Neb. Rev. St. §59-1601(2).

         253.       Defendants engaged in unfair methods and practices in the conduct of its trade or

commerce in violation of the NCPA, under which a person commits a violation when it “(9)

Advertises goods or services with intent not to sell them as advertised or advertises the price in

any manner calculated or tending to mislead or in any way deceive a person,” “(11) Makes false

or misleading statements of fact concerning the reasons for, existence of, or amounts of price

reductions,” or “(15) Uses any scheme or device to defraud by means of: (i) Obtaining money or

property by knowingly false or fraudulent pretenses, representations, or promises.”

         RESPONSE: Stericycle denies the allegations of paragraph 253.

         254.       As set forth herein, Stericycle engaged in unlawful deceptive trade practices in the

conduct of trade or commerce in violation of the NCPA. Stericycle willfully failed to disclose and

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actively concealed material facts regarding the prices it charged its customers, the reasons for price

increases it imposed, and the amounts owed to it for services it performed as described above. In

addition, Stericycle engaged in other deceptive trade practices, including advertising its Steri-Safe

service with the intent not to sell them at the prices it advertised; disclosing and advertising its

prices to customers in a manner calculated or tending to deceive Stericycle customers; omitting

material facts in describing its services and the prices it would charge; knowingly making false

and misleading statements of fact regarding the supposed price reductions it offered to customers

who complained about Stericycle’s price increases, and by invoicing Plaintiffs and Class members

for amounts it knew were not rightfully owed under its agreements, thereby obtaining money

through false and fraudulent representations.

         RESPONSE: Stericycle denies the allegations of paragraph 254.

         255.       Stericycle’s actions as set forth above occurred in the conduct of trade or

commerce.

         RESPONSE:          Stericycle admits that the conduct alleged herein involved trade or

commerce. Stericycle denies the remaining allegations of paragraph 255.

         256.       Stericycle’s actions impact the public interest because Plaintiffs were deceived,

misled, and injured in exactly the same way as thousands of other Stericycle customers, and

because the cost of services such as medical waste collection and treatment impacts the cost of

healthcare, and the public interest in maintaining affordable access to health services. All of the

wrongful conduct alleged herein occurred, and continues to occur, in the conduct of Stericycle’s

business.

         RESPONSE: Stericycle denies the allegations of paragraph 256.




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         257.       Plaintiffs and the Class were injured in their business or property as a result of

Defendant’s conduct.

         RESPONSE: Stericycle denies the allegations of paragraph 257.

         258.       Stericycle’s conduct proximately caused the injuries to Plaintiffs and the Class, who

are entitled to recover actual damages, as well as enhanced damages pursuant to § 59-1609.

         RESPONSE: Stericycle denies the allegations of paragraph 258.

                                 COUNT XVI
      VIOLATIONS OF THE NEW HAMPSHIRE CONSUMER PROTECTION ACT
                     (N.H. REV. STAT. § 358-A:1, ET SEQ.)

         259.       Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         RESPONSE:           Stericycle incorporates by reference its responses to the preceding

allegations as if fully set forth herein.

         260.       The New Hampshire Consumer Protection Act (“NHCPA”) prohibits “any unfair

or deceptive act or practice in the conduct of any trade or commerce.”

         RESPONSE: Stericycle admits the allegations of paragraph 260.

         261.       “Trade or commerce” includes “the distribution of any services directly or

indirectly affecting the people of this state.”

         RESPONSE: Stericycle admits that the allegations of paragraph 261 reflect the language

set forth in N.H. Rev. Stat. § 358-A:1(II).

         262.       Defendants engaged in unfair methods and practices in the conduct of its trade or

commerce in violation of the NHCPA, including the following prohibited conduct: “(IX)

Advertising goods or services with intent not to sell them as advertised,” and “(XI) Making false

or misleading statements of fact concerning the reasons for, existence of, or amounts of price

reductions.”

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         RESPONSE: Stericycle denies the allegations of paragraph 262.

         263.       As set forth herein, Stericycle engaged in unlawful deceptive trade practices in the

conduct of trade or commerce in violation of the NHCPA. Stericycle willfully failed to disclose

and actively concealed material facts regarding the prices it charged its customers, the reasons for

price increases it imposed, and the amounts owed to it for services it performed as described above.

In addition, Stericycle engaged in other deceptive trade practices, including advertising its Steri-

Safe service with the intent not to sell them at the prices it advertised; disclosing and advertising

its prices to customers in a manner calculated or tending to deceive Stericycle customers; omitting

material facts in describing its services and the prices it would charge; knowingly making false

and misleading statements of fact regarding the supposed price reductions it offered to customers

who complained about Stericycle’s price increases, and by invoicing Plaintiffs and Class members

for amounts it knew were not rightfully owed under its agreements.

         RESPONSE: Stericycle denies the allegations of paragraph 263.

         264.       Stericycle’s actions as set forth above occurred in the conduct of trade or

commerce, and were committed willfully or knowingly.

         RESPONSE:          Stericycle admits that the conduct alleged herein involved trade or

commerce. Stericycle denies the remaining allegations of paragraph 264.

         265.       Stericycle’s conduct proximately caused damage to Plaintiffs and the Class.

Plaintiffs and the Class seek the recovery of actual damages, costs and attorney’s fees pursuant to

N.H. REV. STAT. § 358-A:10-a.

         RESPONSE: Stericycle denies the allegations of paragraph 265, and denies that the

Plaintiffs are entitled to the relief they seek in paragraph 265.




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                                      COUNT XVII
                VIOLATIONS OF THE NEW JERSEY CONSUMER FRAUD ACT
                          (N.J. STAT. ANN. § 56-8-19, ET SEQ.)

         266.       Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         RESPONSE:           Stericycle incorporates by reference its responses to the preceding

allegations as if fully set forth herein.

         267.       The New Jersey Consumer Fraud Act (“NJCFA”) makes unlawful “[t]he act, use

or employment by any person of any unconscionable commercial practice, deception, fraud, false

pretense, false promise, misrepresentation, or the knowing concealment, suppression or omission

of any material fact with the intent that others rely upon such concealment, suppression or

omission, in connection with the sale or advertisement of any merchandise or real estate, or with

the subsequent performance of such person as aforesaid, whether or not any person has in fact been

misled, deceived or damaged thereby...” N.J. STAT. ANN. § 56:8-2.

         RESPONSE: Stericycle admits the allegations of paragraph 267.

         268.       Stericycle is a person within the meaning of the NJCFA. N.J. STAT. ANN. § 56:8-

1(d).

         RESPONSE: Stericycle admits the allegations of paragraph 268.

         269.       In the course of Stericycle’s business, it knowingly failed to disclose and actively

concealed material facts regarding the prices it charged its customers, the reasons for price

increases it imposed, and the amounts owed to it for services it performed. In addition, Stericycle

engaged in other deceptive trade practices, including advertising its Steri-Safe service with the

intent not to sell it at the prices it advertised; disclosing and advertising its prices to customers in

a manner calculated or tending to deceive Stericycle customers; omitting material facts in

describing its services and the prices it would charge; knowingly making false and misleading

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statements of fact regarding the supposed price reductions it offered to customers who complained

about Stericycle’s price increases, and by invoicing Plaintiffs and Class members for amounts it

knew were not rightfully owed under its agreements, thereby obtaining money through false and

fraudulent representations. Stericycle knew or should have known that its conduct violated the

NJCFA.

         RESPONSE: Stericycle denies the allegations of paragraph 269.

         270.       Stericycle engaged in an unlawful practice under the NJCFA when it failed to

disclose material information concerning its pricing practices and imposition of APIs on fixed-

price contracts and the true reasons and justifications for APIs and other fees and surcharges it

imposed on customers. Stericycle deliberately withheld the information regarding its true pricing

practices and the reasons for price increases to induce customers to enter into a transaction and/or

remain Stericycle customers.

         RESPONSE: Stericycle denies the allegations of paragraph 270.

         271.       Stericycle’s unlawful practices cause substantial injury to consumers.

         RESPONSE: Stericycle denies the allegations of paragraph 271.

         272.       Plaintiffs and the Class suffered ascertainable loss of money or property caused by

Stericycle’s unlawful practices. Plaintiffs and the Class overpaid for the medical waste disposal

services they purchased and did not receive the benefit of their bargain.

         RESPONSE: Stericycle denies the allegations of paragraph 272.

         273.       Plaintiffs are entitled to recover legal and/or equitable relief, treble damages, and

reasonable attorneys’ fees pursuant to N.J. STAT. ANN. § 56:8-19.

         RESPONSE: Stericycle denies that Plaintiffs are entitled to the relief they seek in

paragraph 273.




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         274.       Pursuant to N.J. STAT. ANN. § 56:8-20, Plaintiffs will mail a copy of this First

Amended Consolidated Complaint to New Jersey’s Attorney General within ten (10) days of filing

it with the Court.

         RESPONSE: Stericycle denies the allegations of paragraph 274 for lack of knowledge or

information sufficient to form a belief as to the truth or falsity thereof.

                                COUNT XVIII
        VIOLATIONS OF THE NEW MEXICO UNFAIR TRADE PRACTICES ACT
                      (N.M. STAT. ANN. § 57-12-1, ET SEQ.)

         275.       Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         RESPONSE:          Stericycle incorporates by reference its responses to the preceding

allegations as if fully set forth herein.

         276.       The New Mexico Unfair Trade Practices Act, N.M. STAT. ANN. §§ 57-12-1, et

seq. (“New Mexico UTPA”) makes unlawful any “[u]nfair or deceptive trade practices and

unconscionable trade practices in the conduct of any trade or commerce.” N.M. STAT. ANN.

§ 57:12-3. Trade or commerce includes the “sale or distribution of any services.” N.M. STAT.

ANN. § 57-12-2(C).

         RESPONSE: Stericycle admits the allegations of paragraph 276.

         277.       Defendants engaged in unfair methods and practices in the conduct of its trade or

commerce in violation of the New Mexico UTPA, including the following prohibited conduct:

“(11) making false or misleading statements of fact concerning the price of goods or services ... or

one’s own price at a past or future time or the reasons for, existence of or amounts of price

reduction” and “(14) using exaggeration, innuendo or ambiguity as to a material fact or failing to

state a material fact if doing so deceives or tends to deceive,” and “(15) stating that a transaction

involves rights, remedies or obligations that it does not involve.”

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         RESPONSE: Stericycle denies the allegations of paragraph 277.

         278.       Stericycle is a person within the meaning of the New Mexico UTPA. N.M. STAT.

ANN. § 57:12-2(A).

         RESPONSE: Stericycle admits the allegations of paragraph 278.

         279.       In the course of Stericycle’s business, it knowingly failed to disclose and actively

concealed material facts and made false and misleading statements regarding the prices it charged

its customers, the reasons for price increases it imposed, and the amounts owed to it for services it

performed. In addition, Stericycle engaged in other unfair or deceptive trade practices, including

advertising its Steri-Safe service with the intent not to sell it at the prices advertised; disclosing

and advertising its prices to customers in a manner calculated or tending to deceive Stericycle

customers; omitting material facts in describing its services and the prices it would charge;

knowingly making false and misleading statements of fact regarding the supposed price reductions

it offered to customers who complained about Stericycle’s price increases, misrepresenting to

customers the rights, remedies or obligations of the agreement between them, and invoicing

Plaintiffs and Class members for amounts it knew were not rightfully owed under its agreements,

thereby obtaining money through false and fraudulent representations.

         RESPONSE: Stericycle denies the allegations of paragraph 279.

         280.       Stericycle took advantage of the lack of knowledge, ability, experience, and

capacity of Plaintiffs and the Class to a grossly unfair degree. Defendant’s actions resulted in a

gross disparity between the value received and the price paid by Plaintiffs and the Class.

Defendant’s actions constitute unconscionable actions under § 57-12-2(E) of the New Mexico

UTPA.

         RESPONSE: Stericycle denies the allegations of paragraph 280.




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         281.       Plaintiffs and the Class lost money and sustained damages as a result of the

Defendant’s unlawful acts and are, therefore, entitled to damages and other relief provided for

under § 57-12-10 of the New Mexico UTPA. Because Defendant’s conduct was committed

willfully, Plaintiffs and the Class seek treble damages, along with court costs and attorneys’ fees.

         RESPONSE: Stericycle denies the allegations of paragraph 281, and further denies that

Plaintiffs are entitled to the relief they seek in paragraph 281.

                                     COUNT XIX
                VIOLATIONS OF THE NEW YORK GENERAL BUSINESS LAW
                              (N.Y. GEN. BUS. LAW § 349)

         282.       Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         RESPONSE:           Stericycle incorporates by reference its responses to the preceding

allegations as if fully set forth herein.

         283.       Stericycle’s business acts and practices alleged herein constitute deceptive acts or

practices under the New York General Business Law, Deceptive Acts and Practices, N.Y. GEN.

BUS. LAW § 349 (“NYGBL”).

         RESPONSE: Stericycle denies the allegations of paragraph 283.

         284.       At all relevant times, Plaintiffs and Class members were acting as consumers of

Stericycle’s waste disposal services. The challenged behavior of Stericycle was consumer-

oriented within the meaning of the NYGBL.

         RESPONSE: Stericycle admits the first sentence of paragraph 284, and denies the second

sentence of paragraph 284.

         285.       The practices of Stericycle, as alleged herein, violated the NYGBL for, inter alia,

one or more of the following reasons:




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                    a.     Stericycle engaged in deceptive, unfair and unconscionable commercial

practices which did, or tended to, mislead Plaintiffs about facts that could not reasonably be known

by them;

                    b.     Stericycle caused Plaintiffs to suffer a probability of confusion and a

misunderstanding of legal rights, obligations and/or remedies by and through its conduct;

                    c.     Stericycle failed to reveal material facts to Plaintiffs and the Class members;

                    d.     Stericycle made material representations and statements of fact to Plaintiffs

and the Cass members; and

                    e.     Under all of the circumstances, Stericycle’s conduct in employing these

unfair and deceptive trade practices was malicious, willful, wanton and outrageous such as to

shock the conscience of the community and warrant the imposition of punitive damages.

         RESPONSE: Stericycle denies the allegations of paragraph 285.

         286.       Stericycle’s violations of the NYGBL caused injuries to Plaintiffs and Class

members.

         RESPONSE: Stericycle denies the allegations of paragraph 286.

                              COUNT XX
    VIOLATIONS OF THE NORTH CAROLINA UNFAIR AND DECEPTIVE TRADE
             PRACTICES ACT (N.C. GEN. STAT. § 75-1.1, ET SEQ.)

         287.       Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         RESPONSE:          Stericycle incorporates by reference its responses to the preceding

allegations as if fully set forth herein.

         288.       North Carolina’s Unfair and Deceptive Trade Practices Act, N.C. GEN. STAT.

§§ 75-1.1, et seq. (“NCUDTPA”), prohibits a person from engaging in “[u]nfair methods of

competition in or affecting commerce, and unfair or deceptive acts or practices in or affecting

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commerce[.]” The NCUDTPA provides a private right of action for any person injured “by reason

of any act or thing done by any other person, firm or corporation in violation of the NCUDTPA.

N.C. GEN. STAT. § 75-16.

         RESPONSE: Stericycle admits the allegations of paragraph 288.

         289.       Stericycle’s acts and practices complained of herein were performed in the course

of its trade or business and thus occurred in or affected “commerce,” which includes Stericycle’s

medical waste disposal services as defined in N.C. GEN. STAT. § 75-1.1(b).

         RESPONSE:          Stericycle admits that the conduct alleged herein involved trade or

commerce. Stericycle denies the remaining allegations of paragraph 289.

         290.       In the course of Stericycle’s business, it knowingly failed to disclose and actively

concealed material facts and made false and misleading statements regarding the prices it charged

its customers, the reasons for price increases it imposed, and the amounts owed to it for services it

performed. In addition, Stericycle engaged in other unfair or deceptive trade practices, including

advertising its Steri-Safe service with the intent not to sell it at the prices advertised; disclosing

and advertising its prices to customers in a manner calculated or tending to deceive Stericycle

customers; omitting material facts in describing its services and the prices it would charge;

knowingly making false and misleading statements of fact regarding the supposed price reductions

it offered to customers who complained about Stericycle’s price increases, misrepresenting to

customers the rights, remedies or obligations of the agreement between them, and invoicing

Plaintiffs and Class members for amounts it knew were not rightfully owed under its agreements,

thereby obtaining money through false and fraudulent representations.

         RESPONSE: Stericycle denies the allegations of paragraph 290.




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         291.       Plaintiffs and members of the Class relied upon Stericycle’s false and misleading

representations and omissions in deciding whether to enter into contracts with Stericycle or

continue using Stericycle for medical waste collection and removal.

         RESPONSE: Stericycle denies the allegations of paragraph 291.

         292.       Stericycle’s conduct proximately caused injuries to Plaintiffs and the Class.

         RESPONSE: Stericycle denies the allegations of paragraph 292.

         293.       Plaintiffs and the other Class members were injured as a result of Stericycle’s

conduct in that Plaintiffs and the other Class members overpaid for the medical waste disposal

services they purchased and did not receive the benefit of their bargain. These injuries are the

direct and natural consequence of Stericycle’s misrepresentations and omissions.

         RESPONSE: Stericycle denies the allegations of paragraph 293.

         294.       Plaintiffs, individually and on behalf of the other Class members, seek treble

damages pursuant to N.C. GEN. STAT. § 75-16, and an award of attorneys’ fees pursuant to N.C.

GEN. STAT. § 75-16.1.

         RESPONSE: Stericycle denies that Plaintiffs are entitled to the relief they seek in

paragraph 294.

                                    COUNT XXI
            VIOLATIONS OF THE NORTH DAKOTA CONSUMER FRAUD ACT
                       (N.D. CENT. CODE § 51-15-01, ET SEQ.)

         295.       Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         RESPONSE:           Stericycle incorporates by reference its responses to the preceding

allegations as if fully set forth herein.

         296.       North Dakota’s Consumer Fraud Act, N.D. CENT. CODE §§ 51-15-01, et seq.

(“NDCFA”), prohibits a person from engaging in “any deceptive act or practice, fraud, false

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pretense, false promise, or misrepresentation, with the intent that others rely thereon in connection

with the sale or advertisement of any merchandise, whether or not any person has in fact been

misled, deceived, or damaged thereby.” N.D. CENT. CODE § 51-15-02. Stericycle’s sale of

medical waste collection and disposal services constitutes “merchandise” as defined by the

NDCFA. N.D. CENT. CODE § 51-15-02(3).

         RESPONSE: Stericycle admits the allegations of paragraph 296.

         297.       The NDCFA provides a private right of action against any person who has acquired

money or property “by means of any practice declared to be unlawful” by the NDCFA. N.D.

CENT. CODE § 51-15-09.

         RESPONSE: Stericycle admits the allegations of paragraph 297.

         298.       In the course of Stericycle’s business, it knowingly failed to disclose and actively

concealed material facts and made false and misleading statements regarding the prices it charged

its customers, the reasons for price increases it imposed, and the amounts owed to it for services it

performed. In addition, Stericycle engaged in other unfair or deceptive trade practices, including

advertising its Steri-Safe service with the intent not to sell it at the prices advertised; disclosing

and advertising its prices to customers in a manner calculated or tending to deceive Stericycle

customers; omitting material facts in describing its services and the prices it would charge;

knowingly making false and misleading statements of fact regarding the supposed price reductions

it offered to customers who complained about Stericycle’s price increases, misrepresenting to

customers the rights, remedies or obligations of the agreement between them, and invoicing

Plaintiffs and Class members for amounts it knew were not rightfully owed under its agreements,

thereby obtaining money through false and fraudulent representations.

         RESPONSE: Stericycle denies the allegations of paragraph 298.




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         299.       Plaintiffs and members of the Class relied upon Stericycle’s false and misleading

representations and omissions in deciding whether to enter into contracts with Stericycle or

continue using Stericycle for medical waste collection and removal.

         RESPONSE: Stericycle denies the allegations of paragraph 299.

         300.       Stericycle’s conduct proximately caused injuries to Plaintiffs and the Class.

         RESPONSE: Stericycle denies the allegations of paragraph 300.

         301.       Plaintiffs and the other Class members suffered a loss of money or property and

were injured as a result of Stericycle’s conduct in that Plaintiffs and the other Class members

overpaid for the medical waste disposal services they purchased and did not receive the benefit of

their bargain. These injuries are the direct and natural consequence of Stericycle’s

misrepresentations and omissions.

         RESPONSE: Stericycle denies the allegations of paragraph 301.

         302.       Stericycle knowingly committed the conduct described above, and thus, under N.D.

CENT. CODE § 51-15-09, is liable to Plaintiffs and the Class for treble damages, as well as

attorneys’ fees, costs, and disbursements.

         RESPONSE: Stericycle denies the allegations of paragraph 302.

                                COUNT XXII
          VIOLATIONS OF THE OKLAHOMA CONSUMER PROTECTION ACT
                      (OKLA. STAT. TIT. 15 § 751, ET SEQ.)

         303.       Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         RESPONSE:           Stericycle incorporates by reference its responses to the preceding

allegations as if fully set forth herein.

         304.       Oklahoma’s Consumer Protection Act, OKLA. STAT. TIT. 15 § 751, et seq.

(“Oklahoma CPA”), makes it unlawful to commit unfair or deceptive trade practices. A deceptive

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trade practice “means a misrepresentation, omission or other practice that has deceived or could

reasonably be expected to deceive or mislead a person to the detriment of that person. Such a

practice may occur before, during or after a consumer transaction is entered into and may be

written or oral.” OKLA. STAT. TIT. 15 § 752(13). An unfair trade practice “means any practice

which offends established public policy or if the practice is immoral, unethical, oppressive,

unscrupulous or substantially injurious to consumers.” OKLA. STAT. TIT. 15 § 752(14).

         RESPONSE: Stericycle admits the allegations of paragraph 304.

         305.       In the course of Stericycle’s business, it knowingly failed to disclose and actively

concealed material facts and made false and misleading statements regarding the prices it charged

its customers, the reasons for price increases it imposed, and the amounts owed to it for services it

performed. In addition, Stericycle engaged in other unfair or deceptive trade practices, including

advertising its Steri-Safe service with the intent not to sell it at the prices advertised; disclosing

and advertising its prices to customers in a manner calculated or tending to deceive Stericycle

customers; omitting material facts in describing its services and the prices it would charge;

knowingly making false and misleading statements of fact regarding the supposed price reductions

it offered to customers who complained about Stericycle’s price increases, misrepresenting to

customers the rights, remedies or obligations of the agreement between them, and invoicing

Plaintiffs and Class members for amounts it knew were not rightfully owed under its agreements,

thereby obtaining money through false and fraudulent representations.

         RESPONSE: Stericycle denies the allegations of paragraph 305.

         306.       Stericycle’s misrepresentations could reasonably be expected to deceive or mislead

a person to their detriment, and actually did deceive Plaintiffs and members of the Class.

         RESPONSE: Stericycle denies the allegations of paragraph 306.




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         307.       Stericycle’s conduct described above offends established public policy and is

immoral, unethical, oppressive, unscrupulous and substantially injurious to consumers and affect

the public interest because Plaintiffs and members of the Class were injured in the same way as

thousands of others through Stericycle’s generalized course of deception.

         RESPONSE: Stericycle denies the allegations of paragraph 307.

         308.       Stericycle’s conduct proximately caused injuries to Plaintiffs and the Class.

Plaintiffs and the other Class members suffered a loss of money or property and were injured as a

result of Stericycle’s conduct in that Plaintiffs and the other Class members overpaid for the

medical waste disposal services they purchased and did not receive the benefit of their bargain.

These injuries are the direct and natural consequence of Stericycle’s misrepresentations and

omissions.

         RESPONSE: Stericycle denies the allegations of paragraph 308.

         309.       Stericycle is liable to Plaintiffs and the Class for damages in amounts to be proven

at trial, including attorneys’ fees, costs, and treble damages.

         RESPONSE: Stericycle denies the allegations of paragraph 309.

                           COUNT XXIII
VIOLATIONS OF THE OKLAHOMA CONSUMER DECEPTIVE TRADE PRACTICES
               ACT (OKLA. STAT. TIT. 78 § 51-55, ET SEQ.)

         310.       Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth

         RESPONSE:           Stericycle incorporates by reference its responses to the preceding

allegations as if fully set forth herein.

         311.       Oklahoma’s Deceptive Trade Practices Act, OKLA. STAT. TIT. 78 § 51-55, et seq.

(“Oklahoma DTPA”), makes it unlawful to engage deceptive trade practices in the course of a

business, vocation or occupation. A person commits a deceptive trade practice when, he “11.

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Makes false or misleading statements of fact concerning the reasons for, existence of, or amounts

of price reductions.” OKLA. STAT. TIT. 78 § 53.

         RESPONSE: Stericycle admits the allegations of paragraph 311.

         312.       In the course of Stericycle’s business, it knowingly failed to disclose and actively

concealed material facts and made false and misleading statements regarding the prices it charged

its customers, the reasons for price increases it imposed, and the amounts owed to it for services it

performed. In addition, Stericycle engaged in other unfair or deceptive trade practices, including

advertising its Steri-Safe service with the intent not to sell it at the prices advertised; disclosing

and advertising its prices to customers in a manner calculated or tending to deceive Stericycle

customers; omitting material facts in describing its services and the prices it would charge;

knowingly making false and misleading statements of fact regarding the supposed price reductions

it offered to customers who complained about Stericycle’s price increases, misrepresenting to

customers the rights, remedies or obligations of the agreement between them, and invoicing

Plaintiffs and Class members for amounts it knew were not rightfully owed under its agreements,

thereby obtaining money through false and fraudulent representations.

         RESPONSE: Stericycle denies the allegations of paragraph 312.

         313.       Stericycle’s actions as set forth above occurred in the conduct of trade or

commerce, and constitute deceptive trade practices under the Oklahoma DTPA.

         RESPONSE:          Stericycle admits that the conduct alleged herein involved trade or

commerce. Stericycle denies the remaining allegations of paragraph 313.

         314.       Stericycle’s actions impact the public interest because Plaintiffs were injured in

exactly the same way as thousands of others purchasing Stericycle’s services as a result of

Stericycle’s generalized course of deception.




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         RESPONSE: Stericycle denies the allegations of paragraph 314.

         315.       Plaintiffs and the Class were injured as a result of Stericycle’s conduct, and suffered

actual monetary loss. Plaintiffs overpaid for the medial waste collection and disposal services and

did not receive the benefit of their bargain.

         RESPONSE: Stericycle denies the allegations of paragraph 315.

         316.       Plaintiffs seek an award of actual damages, attorney’s fees and costs and permitted

by the Oklahoma DTPA.

         RESPONSE: Stericycle denies that Plaintiffs are entitled to the relief they seek in

paragraph 316.

                              COUNT XXIV
    VIOLATIONS OF THE SOUTH CAROLINA UNFAIR TRADE PRACTICES ACT
                    (S.C. CODE ANN. § 39-5-10, ET SEQ.)

         317.       Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         RESPONSE:           Stericycle incorporates by reference its responses to the preceding

allegations as if fully set forth herein.

         318.       The South Carolina Unfair Trade Practices Act (“SCUTP”) prohibits “Unfair

methods of competition and unfair or deceptive acts or practices in the conduct of any trade or

commerce.” S.C. CODE ANN. § 39-5-20(a). Stericycle is a person within the meaning of S.C.

CODE ANN. § 39-5-10(a).

         RESPONSE: Stericycle admits the allegations of paragraph 318.

         319.       Trade or commerce as defined by the SCUTP includes the “sale or distribution of

any services” and includes “any trade or commerce directly or indirectly affecting the people” of

South Carolina. S.C. CODE ANN. § 39-5-10(b). Stericycle’s the medical waste collection and




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disposal services at issue in this case are “services” under the SCUTP and affect the people of

South Carolina directly and indirectly.

         RESPONSE: Stericycle admits the first sentence of paragraph 319, and further admits that

its medical waste collection and disposal services at issue in this case are “services” pursuant to

the SCUTP. Stericycle denies the remaining allegations of paragraph 319

         320.       In the course of Stericycle’s business, it knowingly and willfully failed to disclose

and actively concealed material facts and made false and misleading statements regarding the

prices it charged its customers, the reasons for price increases it imposed, and the amounts owed

to it for services it performed. In addition, Stericycle engaged in other unfair or deceptive trade

practices, including advertising its Steri-Safe service with the intent not to sell it at the prices

advertised; disclosing and advertising its prices to customers in a manner calculated or tending to

deceive Stericycle customers; omitting material facts in describing its services and the prices it

would charge; knowingly making false and misleading statements of fact regarding the supposed

price reductions it offered to customers who complained about Stericycle’s price increases,

misrepresenting to customers the rights, remedies or obligations of the agreement between them,

and invoicing Plaintiffs and Class members for amounts it knew were not rightfully owed under

its agreements, thereby obtaining money through false and fraudulent representations.

         RESPONSE: Stericycle denies the allegations of paragraph 320.

         321.       Stericycle’s actions as set forth above occurred in the conduct of trade or

commerce, and constitute deceptive trade practices under the SCUTP.

         RESPONSE:          Stericycle admits that the conduct alleged herein involved trade or

commerce. Stericycle denies the remaining allegations of paragraph 321.




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         322.       Plaintiffs and the Class were injured as a result of Stericycle’s conduct, and suffered

ascertainable monetary loss. Plaintiffs overpaid for the medial waste collection and disposal

services and did not receive the benefit of their bargain.

         RESPONSE: Stericycle denies the allegations of paragraph 322.

         323.       Plaintiffs seek an award of actual damages, treble damages, attorney’s fees and

costs and permitted by the SCUTP. S.C. CODE ANN. § 39-5-140.

         RESPONSE: Stericycle denies that Plaintiffs are entitled to the relief they seek in

paragraph 323.

                             COUNT XXV
   VIOLATIONS OF THE SOUTH DAKOTA DECEPTIVE TRADE PRACTICES AND
       CONSUMER PROTECTION ACT (S.D. CODE ANN. § 39-5-10, ET SEQ.

         324.       Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         RESPONSE:           Stericycle incorporates by reference its responses to the preceding

allegations as if fully set forth herein.

         325.       The South Dakota Deceptive Trade Practices and Consumer Protection Act

(“SDCPA”) makes it an unlawful, deceptive act or practice to “[k]nowingly and intentionally act,

use, or employ any deceptive act or practice, fraud, false pretense, false promises, or

misrepresentation or to conceal, suppress, or omit any material fact in connection with the sale or

advertisement of any merchandise, regardless of whether any person has in fact been misled,

deceived, or damaged thereby.” S.D. CODIFIED LAWS § 37-24-6.

         RESPONSE: Stericycle admits the allegations of paragraph 325.

         326.       Stericycle’s medical waste collection and disposal services at issue in this case are

“services” under the SDCPA. S.D. CODIFIED LAWS § 37-24-1.

         RESPONSE: Stericycle admits the allegations of paragraph 326.

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         327.       In the course of Stericycle’s business, it knowingly and intentionally failed to

disclose and actively concealed material facts and made false and misleading statements regarding

the prices it charged its customers, the reasons for price increases it imposed, and the amounts

owed to it for services it performed. In addition, Stericycle engaged in other unfair or deceptive

trade practices, including advertising its Steri-Safe service with the intent not to sell it at the prices

advertised; disclosing and advertising its prices to customers in a manner calculated or tending to

deceive Stericycle customers; omitting material facts in describing its services and the prices it

would charge; knowingly making false and misleading statements of fact regarding the supposed

price reductions it offered to customers who complained about Stericycle’s price increases,

misrepresenting to customers the rights, remedies or obligations of the agreement between them,

and invoicing Plaintiffs and Class members for amounts it knew were not rightfully owed under

its agreements, thereby obtaining money through false and fraudulent representations.

         RESPONSE: Stericycle denies the allegations of paragraph 327.

         328.       Stericycle’s actions as set forth above occurred in the conduct of trade or

commerce, and constitute deceptive trade practices under the SDCPA.

         RESPONSE:           Stericycle admits that the conduct alleged herein involved trade or

commerce. Stericycle denies the remaining allegations of paragraph 328.

         329.       Plaintiffs and the Class were injured as a result of Stericycle’s conduct, and suffered

ascertainable monetary loss. Plaintiffs overpaid for the medial waste collection and disposal

services and did not receive the benefit of their bargain.

         RESPONSE: Stericycle denies the allegations of paragraph 329.

         330.       Plaintiffs seek an award of actual damages, attorney’s fees and costs as permitted

by the SDCPA. S.C. CODE ANN. § 39-5-140.




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         RESPONSE: Stericycle denies that Plaintiffs are entitled to the relief they seek in

paragraph 330.

                                COUNT XXVI
           VIOLATIONS OF THE TENNESSEE CONSUMER PROTECTION ACT
                     (TENN. CODE ANN. § 47-18-101, ET SEQ.)

         331.       Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         RESPONSE:           Stericycle incorporates by reference its responses to the preceding

allegations as if fully set forth herein.

         332.       The Tennessee Consumer Protection Act (“TCPA”) makes unlawful to commit

unfair or deceptive acts or practices “affecting the conduct of any trade or conduct. TENN. CODE.

ANN. § 47-18-104(b). Unfair or deceptive practices under the TCPA include “(9) Advertising

goods or services with intent not to sell them as advertised,” and “(11) Making false or misleading

statements of fact concerning the reasons for, existence of, or amounts of price reductions.” TENN.

CODE ANN. § 47-18-104(b).

         RESPONSE: Stericycle admits the allegations of paragraph 332.

         333.       Stericycle’s the medical waste collection and disposal services at issue constitute a

“service” under the TCPA. TENN. CODE ANN. § 47-18-103(18).

         RESPONSE: Stericycle admits the allegations of paragraph 333.

         334.       In the course of Stericycle’s business, it knowingly, willfully and intentionally

failed to disclose and actively concealed material facts and made false and misleading statements

regarding the prices it charged its customers, the reasons for price increases it imposed, and the

amounts owed to it for services it performed. In addition, Stericycle engaged in other unfair or

deceptive trade practices, including advertising its Steri-Safe service with the intent not to sell it

at the prices advertised; disclosing and advertising its prices to customers in a manner calculated

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or tending to deceive Stericycle customers; omitting material facts in describing its services and

the prices it would charge; knowingly making false and misleading statements of fact regarding

the supposed price reductions it offered to customers who complained about Stericycle’s price

increases, misrepresenting to customers the rights, remedies or obligations of the agreement

between them, and invoicing Plaintiffs and Class members for amounts it knew were not rightfully

owed under its agreements, thereby obtaining money through false and fraudulent representations.

         RESPONSE: Stericycle denies the allegations of paragraph 334.

         335.       Stericycle’s actions as set forth above occurred in the conduct of trade or

commerce, and constitute unfair or deceptive trade practices under the TCPA.

         RESPONSE:           Stericycle admits that the conduct alleged herein involved trade or

commerce. Stericycle denies the remaining allegations of paragraph 335.

         336.       Plaintiffs and the Class were injured as a result of Stericycle’s conduct, and suffered

ascertainable monetary loss. Plaintiffs overpaid for the medial waste collection and disposal

services and did not receive the benefit of their bargain.

         RESPONSE: Stericycle denies the allegations of paragraph 336.

         337.       Plaintiffs seek an award of actual damages, treble damages, attorney’s fees and

costs as permitted by the TCPA. TENN. CODE ANN. § 47-18-109.

         RESPONSE: Stericycle denies that Plaintiffs are entitled to the relief they seek in

paragraph 337.

                                COUNT XXVII
          VIOLATIONS OF THE TEXAS DECEPTIVE TRADE PRACTICES ACT
                   (TEX. BUS. & COM. CODE § 17.41, ET SEQ.)

         338.       Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.




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         RESPONSE:          Stericycle incorporates by reference its responses to the preceding

allegations as if fully set forth herein.

         339.       Plaintiffs intend to assert a claim under the Texas Deceptive Trade Practices Act

(“TDTPA”), which makes it unlawful to commit “[f]alse, misleading, or deceptive acts or practices

in the conduct of any trade or commerce.” TEX. BUS. & COM. CODE § 17.46. Plaintiffs will

make a demand in satisfaction of TEX. BUS. & COM. CODE § 17.45(2), and may amend this

Complaint to assert claims under the TDTPA once the required 60 days have elapsed. This

paragraph is included for purposes of notice only and is not intended to actually assert a claim

under the TDTPA.

         RESPONSE: Stericycle denies that Plaintiffs are entitled to the relief they intend to seek

in paragraph 339.

                                       COUNT XXX
                    VIOLATIONS OF THE VERMONT CONSUMER FRAUD ACT
                              (VT. STAT. ANN. § 2451, ET SEQ.)

         340.       Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         RESPONSE:          Stericycle incorporates by reference its responses to the preceding

allegations as if fully set forth herein.

         341.       The Vermont Consumer Fraud Act (“VCPA”) makes unlawful to commit “Unfair

methods of competition in commerce, and unfair or deceptive acts or practices in commerce.” VT.

STAT. ANN. § 2453(a). The VCPA provides a private right of action for “[a]ny consumer who

contracts for goods or services in reliance upon false or fraudulent representations or practices ...

or who sustains damages or injury as a result of any false or fraudulent representations or practices”

prohibited by the VCPA. VT. STAT. ANN. § 2461(b).

         RESPONSE: Stericycle admits the allegations of paragraph 341.

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         342.       Plaintiffs are each “consumers” as defined by VT. STAT. ANN. § 2451a(a).

Stericycle’s medical waste collection and disposal services are “services” under VT. STAT. ANN.

§ 2451a(b).

         RESPONSE: Stericycle admits the allegations of paragraph 342.

         343.       In the course of Stericycle’s business, it knowingly and intentionally failed to

disclose and actively concealed material facts and made false and misleading statements regarding

the prices it charged its customers, the reasons for price increases it imposed, and the amounts

owed to it for services it performed. In addition, Stericycle engaged in other unfair or deceptive

trade practices, including advertising its Steri-Safe service with the intent not to sell it at the prices

advertised; disclosing and advertising its prices to customers in a manner calculated or tending to

deceive Stericycle customers; omitting material facts in describing its services and the prices it

would charge; knowingly making false and misleading statements of fact regarding the supposed

price reductions it offered to customers who complained about Stericycle’s price increases,

misrepresenting to customers the rights, remedies or obligations of the agreement between them,

and invoicing Plaintiffs and Class members for amounts it knew were not rightfully owed under

its agreements, thereby obtaining money through false and fraudulent representations.

         RESPONSE: Stericycle denies the allegations of paragraph 343.

         344.       Stericycle’s actions as set forth above occurred in the conduct of trade or

commerce, and constitute unfair or deceptive trade practices under the WCPA.

         RESPONSE:          Stericycle admits that the conduct alleged herein involved trade or

commerce. Stericycle denies the remaining allegations of paragraph 344.




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         345.       Plaintiffs and the Class relied upon and were deceived by Stericycle’s unfair and

deceptive misrepresentations of material fact in deciding to enter into contracts or continue doing

business with Stericycle.

         RESPONSE: Stericycle denies the allegations of paragraph 345.

         346.       Plaintiffs and the Class were injured as a result of Stericycle’s conduct, and suffered

ascertainable monetary loss. Plaintiffs overpaid for the medial waste collection and disposal

services and did not receive the benefit of their bargain.

         RESPONSE: Stericycle denies the allegations of paragraph 346.

         347.       Plaintiffs seek an award of actual damages, treble damages, attorney’s fees and

costs as permitted by the VCPA. VT. STAT. ANN. § 2461(b).

         RESPONSE: Stericycle denies that Plaintiffs are entitled to the relief they seek in

paragraph 347.

                                       AFFIRMATIVE DEFENSES

         Stericycle’s affirmative defenses to the Complaint are set forth below. By setting forth the

following allegations and defenses, however, Stericycle does not assume the burden of proof on

matters and issues other than those on which it has the burden of proof as a matter of law.

Moreover, a class has not been certified in this matter, and Stericycle believes a class should not

be certified for the reasons addressed in this pleading and for the reasons that will be set forth in

Stericycle’s response to Plaintiffs’ pending motion for class certification. Because there has been

limited discovery taken from members of Plaintiffs’ proposed class, however, Stericycle is




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necessarily limited at this juncture in its ability to plead defenses to the claims of those persons

and entities.

                              FIRST AFFIRMATIVE DEFENSE

         The claims of Plaintiffs and/or the members of the proposed class in Counts II through

XXVIII are barred, in whole or in part, because those claims sound in fraud and Plaintiffs have

failed to plead those claims with the particularity required by Fed. R. Civ. P. 9(b).

                             SECOND AFFIRMATIVE DEFENSE

         The claims of Plaintiffs and/or the members of the proposed class in Counts II, VIII, XI,

XVII, XIX are XX are barred, in whole or in part, because those claims are merely duplicative of

the breach of contract claim set forth in Count I and Plaintiffs have not pled facts that would

otherwise rise to the level of an independent tort.

                              THIRD AFFIRMATIVE DEFENSE

         The claims of Plaintiffs and/or the members of the proposed class in Counts X and XXVIII

are barred, in whole or in part, because Plaintiffs are not competitors of Stericycle (see Complaint

at ¶¶ 5-18, 96-125) and, as such, lack standing to bring claims under those statutes.

                             FOURTH AFFIRMATIVE DEFENSE

         The claims of Plaintiffs and/or the members of the proposed class in Counts VII, XIV, XV,

XIX and XXIV are barred, in whole or in part, because Plaintiffs have not pled and cannot prove

that there is a public interest in any alleged breach of contract between Plaintiffs and Stericycle,

as such a breach of contract is by nature a private and individual interest.

                              FIFTH AFFIRMATIVE DEFENSE

         The claims of Plaintiffs and/or the members of the proposed class in Count II are barred,

in whole or in part, because Plaintiffs, which are business entities, have not pled and cannot prove




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that the transactions between Plaintiffs and Stericycle have a nexus to consumer transactions and

the market generally.

                              SIXTH AFFIRMATIVE DEFENSE

         The claims of Plaintiffs and/or the members of the proposed class in Counts II through

XXVIII are barred, in whole or in part, because Plaintiffs lack standing to bring claims for statutory

consumer fraud in states in which they do not reside and as such have not suffered any injury.

                            SEVENTH AFFIRMATIVE DEFENSE

         The claims of Plaintiffs and/or the members of the proposed class in Counts XIII and

XXVIII are barred, in whole or in part, because Plaintiffs failed to give Stericycle notice of

Plaintiffs’ claims and an opportunity to cure as required pursuant to various state consumer fraud

statutes.

                             EIGHTH AFFIRMATIVE DEFENSE

         The claims of certain members of the proposed class under Count I are barred, in whole or

in part, because those members of the proposed class do not have contracts with Stericycle and

thus Stericycle could not have breached any contractual term.

                              NINTH AFFIRMATIVE DEFENSE

         Upon information and belief, the claims of certain members of the proposed class may be

barred, in whole or in part, by the applicable statute of limitations and/or statute of repose.

Specifically, with respect to Count I, certain alleged class members entered into contracts with

Stericycle and Stericycle allegedly breached its contracts with them by imposing purportedly

improper price increases and/or surcharges prior to the applicable 10-year statute of limitations

(735 ILCS 5/13-206). With respect to Counts II through XXVIII, the causes of action accrued

prior to the applicable statutes of limitation, and there is no basis for tolling of those statutes of

limitation. See, e.g., Count II, 3 years (815 ILCS 505/10a); Count III, 2 years (Alaska Stat.


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§ 45.50.531); Count III, 1 year (A.R.S. § 12-541(5)); Count IV, 5 years (Ark. Code Ann. § 4-88-

115); Count V, 4 years (Cal. Bus. & Prof. Code § 17208); Count VI, 3 years (Cal. Civ. Pro. Code

§ 338); Count VII, 3 years (Colo. Rev. Stat. § 6-1-115); Count VIII, 3 years (Conn. Gen. Stat. Ann.

§42-110g(f)); Counts IX and X, 5 years (6 Del. Code § 2506); Count XI, 4 years (Fl. St.

§ 501.207); Count XII, 2 years (Idaho Code § 48-619); Count XIII, 4 years (Mass. Gen. Laws Ann.

260 § 5A); Count XIV, 6 years (Minn. Stat. Ann. § 541.05(2)); Count XV, 4 years (Neb. Rev. Stat.

§ 59-1612); Count XVI, 3 years (N.H. Rev. Stat. § 358-A:3); Count XVII, 6 years (N.J.S.A.

2A:14-1); Count XVIII, 4 years (N.M. Stat. Ann. § 37-1-4); Count XIX, 6 years (N.Y. CVP. Law

§ 213); Count XX, 4 years (N.C. Gen. Stat. § 75-16.2); Count XXI, 6 years, (N.D. Cent. Code

§ 28-01-16); Counts XXII and XXIII, 2 years (Okla. Stat. Tit. 12 § 95); Count XXIV, 3 years (S.C.

Code Ann. § 39-5-150); Count XXV, 4 years (S.D. Code Ann. § 37-24-33); Count XXVI, 1 year

(Tenn. Code Ann. § 47-18-110); Count XXVII, 2 years (Tex. Bus. & Com. Code § 17.565); and

Count XXVIII, 6 years (Vt. Stat. Ann. 12 § 511).

                              TENTH AFFIRMATIVE DEFENSE

         The claims of Plaintiffs and/or the members of the proposed class are barred, in whole or

in part, because, on information and belief, Plaintiffs and certain members of the proposed class

have brought causes of action in a forum and/or pursuant to a state law that violate the forum-

selection clause and/or choice of law provision contained in the applicable contract between the

member of the proposed class and Stericycle.

                           ELEVENTH AFFIRMATIVE DEFENSE

         The claims of Plaintiffs and/or the members of the proposed class are barred, in whole or

in part, by the doctrine of accord and satisfaction because, on information and belief, Plaintiffs and

certain members of the proposed class submitted payments to Stericycle at various times pursuant

to a shared intent to settle a bona fide dispute over an unliquidated amount owed to Stericycle


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pursuant to allegedly improper price increases and/or surcharges, and Stericycle accepted those

payments as full satisfaction of the contractual obligations of those members of the proposed class.

                            TWELFTH AFFIRMATIVE DEFENSE

         The claims of Plaintiffs and/or the members of the proposed class are barred, in whole or

in part, because, on information and belief, a novation occurred when Plaintiffs and certain

members of the proposed class entered into new, valid, contracts with Stericycle by mutual

agreement that contained new pricing terms, and which extinguished their prior contract with

Stericycle and any prior debt obligations owed to Stericycle thereunder.

                          THIRTEENTH AFFIRMATIVE DEFENSE

         The claims of Plaintiffs and/or the members of the proposed class are barred, in whole or

in part, by the doctrine of estoppel because, at various times, Plaintiffs and/or the members of the

proposed class intentionally paid outstanding invoices owed to Stericycle knowing that they

contained allegedly improper price increases and/or surcharges, Stericycle reasonably relied upon

those payments as evidence of the consent of Plaintiffs and members of the proposed class to the

price increases and/or surcharges and, as a result, Stericycle relied to its detriment and continued

to provide services to Plaintiffs and the members of the proposed class and incur the costs

associated with those services pursuant to their contracts.

                         FOURTEENTH AFFIRMATIVE DEFENSE

         The claims of Plaintiffs and/or the members of the proposed class are barred, in whole or

in part, because at various times Plaintiffs and/or the members of the proposed class intentionally

and knowingly waived their rights to contest the allegedly improper price increases and/or

surcharges either when they contacted Stericycle to discuss the allegedly improper price increases

and/or surcharges and thereafter agreed to the existing or new price terms in their contracts, or

when they continued to pay their invoices to Stericycle and demand that Stericycle continue to


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provide services to them pursuant to the contract without disputing the allegedly improper price

increases and/or surcharges.

                           FIFTEENTH AFFIRMATIVE DEFENSE

         The claims of Plaintiffs and/or the members of the proposed class are barred, in whole or

in part, by the doctrine of laches, because at various times Plaintiffs and/or the members of the

proposed class received invoices from Stericycle knowing that they contained allegedly improper

price increases and/or surcharges and they engaged in undue delay and an unreasonable lack of

diligence by failing to take any action to dispute the allegedly improper price increases and/or

surcharges and, instead, continued to pay their invoices and acquiesce to the new prices for a

significant period of time, which prejudiced Stericycle by leading Stericycle to continue to provide

services to Plaintiffs and the members of the proposed class and incur the costs associated with

those services with the expectation that Plaintiffs and the members of the proposed class would

continue to pay the invoiced price for those services pursuant to their contracts with Stericycle.

                           SIXTEENTH AFFIRMATIVE DEFENSE

         The claims of Plaintiffs and/or the members of the proposed class are barred, in whole or

in part, because Stericycle provided services for the benefit of Plaintiffs and/or the members of the

proposed class pursuant to their contracts, and, to the extent Stericycle’s invoices contained

allegedly improper price increases and surcharges, Plaintiffs and the members of the proposed

class ratified Stericycle’s services and pricing by either expressly ratifying Stericycle’s conduct or

implicitly acquiescing in and failing to repudiate Stericycle’s conduct.

                         SEVENTEENTH AFFIRMATIVE DEFENSE

         The claims of Plaintiffs and/or the members of the proposed class are barred, in whole or

in part, by the voluntary payment doctrine because, at various times, Plaintiffs and/or the members




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if the proposed class received invoices demanding payment of amounts due to Stericycle for its

services that included allegedly improper price increases and/or surcharges, and Plaintiffs and/or

the members of the proposed class voluntarily paid those invoiced amounts due to Stericycle under

Stericycle’s claim of right to payment for the services it provided with full knowledge of the facts

surrounding the claim of right to payment and without compulsion or duress.

                           EIGHTEENTH AFFIRMATIVE DEFENSE

         The claims of certain members of the proposed class are barred, in whole or in part, because

they previously entered into a valid agreement with Stericycle whereby they intentionally and

knowingly released Stericycle from liability for any claimed damages due to allegedly improper

fees or price increases.

                           NINETEENTH AFFIRMATIVE DEFENSE

         The claims of Plaintiffs and/or the members of the proposed class are barred, in whole or

in part, because Plaintiffs and the members of the proposed class failed to mitigate their own

damages when they voluntarily paid Stericycle for invoiced amounts due that included allegedly

improper price increases and/or surcharges without (i) attempting to have the charges reduced by

contacting Stericycle to dispute or negotiate the allegedly improper price increases and/or

surcharges, (ii) without attempting to terminate their contract with Stericycle to avoid the allegedly

improper charges, and/or (iii) without attempting to obtain substitute arrangements for services

from someone other than Stericycle.

                           TWENTIETH AFFIRMATIVE DEFENSE

         The claims of Plaintiffs and/or the members of the proposed class are barred because

certain of the contracts between Plaintiffs, members of the proposed class and Stericycle contain

a provision requiring all disputes between the parties be submitted to arbitration.




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                         TWENTY-FIRST AFFIRMATIVE DEFENSE

         The claims of Plaintiffs and/or the members of the proposed class are barred, in whole or

in part, because Plaintiffs and/or the members of the proposed class cannot meet their burden of

proving that any acts, conduct, statements or omissions on the part of Stericycle misled them or

were likely to mislead them, as the amount that Plaintiffs and the members of the proposed class

were being billed was clearly stated on each invoice.

                       TWENTY-SECOND AFFIRMATIVE DEFENSE

         The claims of Plaintiffs and/or the members of the proposed class under Count V are

barred, in whole or in part, because Plaintiffs and/or members of the proposed class seek relief

(e.g., monetary damages) to which they are not entitled under the law.

                        TWENTY-THIRD AFFIRMATIVE DEFENSE

         Stericycle is informed and believes, and on that basis alleges, that the claim for damages

and/or other monetary recovery by Plaintiffs and/or members of the proposed class must be offset

and reduced by any considerations or other discounts that they received from Stericycle.

                       TWENTY-FOURTH AFFIRMATIVE DEFENSE

         Plaintiffs’ action is not properly maintained as a class action because the requirements

under federal law for class certification have not been met and because certification of the proposed

class would result in a denial of due process to Stericycle as well as to members of the proposed

class. By way of example, Plaintiffs are not adequate class representatives or typical of the

proposed class to the extent that Plaintiffs would be subject to unique defenses vis-à-vis some or

all of the claims they have asserted, such as lack of standing to bring claims under the consumer

protection laws of states in which they do not reside. In addition, common questions of law and

fact do not predominate over individual questions, including but not limited to, questions regarding




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the terms of the individual contracts with the members of the proposed class, whether those terms

were breached by Stericycle and/or whether any member of the proposed class paid invoices

including the allegedly improper charges, thus subjecting them to a voluntary payment/waiver

defense.

                        TWENTY-FIFTH AFFIRMATIVE DEFENSE

         Plaintiffs’ claims under Counts XXIV and XXVI are not properly maintained as a class

action because the applicable state statutes prohibit Plaintiffs from asserting these claims in a

representative capacity and on a class-wide basis.

                        TWENTY-SIXTH AFFIRMATIVE DEFENSE

         Stericycle has insufficient knowledge or information upon which to form a belief as to

whether it may have additional affirmative defenses that govern the claim asserted by Plaintiffs

and on behalf of persons claimed to be members of the proposed class. Stericycle, therefore,

reserves the right to raise additional defenses as appropriate, including but not limited to those set

forth in Rule 12(b) and 8(c) of the Rules of Civil Procedure, which discovery may reveal are

applicable.

         WHEREFORE, Stericycle prays that Plaintiffs’ Second Amended Consolidated Complaint

and each and every cause of action alleged therein be dismissed with prejudice, that it be awarded

its costs and attorneys’ fees incurred herein, and that the Court award such other and further relief

as it deems just in the premises.




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         Dated this 25th day of March, 2016.

                                                 STERICYCLE, INC.

                                          By     /s/ Raymond J. Etcheverry
 Paul E. Chronis                                 Raymond J. Etcheverry (admitted pro hac vice)
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on the 25th day of March, 2016, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system, which will send notification of such filing

to all counsel of record.




                                              /s/ Raymond J. Etcheverry




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